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14                               UNITED STATES DISTRICT COURT
15                               EASTERN DISTRICT OF CALIFORNIA
16
17 RALPH COLEMAN, et al.,                         Case No. Civ S 90-0520 LKK-JFM
18                 Plaintiffs,                    NOTICE OF MOTION AND MOTION
                                                  FOR ENFORCEMENT OF COURT
19          v.                                    ORDERS AND AFFIRMATIVE
                                                  RELIEF RELATED TO USE OF
20 EDMUND G. BROWN, Jr., et al.,                  FORCE AND DISCIPLINARY
                                                  MEASURES
21                 Defendants.
                                                  Judge: Hon. Lawrence K. Karlton
22                                                Date: July 8, 2013
                                                  Time: 10:00 am
23                                                Crtrm: 4
24
25
26
27
28

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 2
 3     ADA                     Americans with Disabilities Act
       AOD                     Administrative Officer of the Day
 4
       ASH or Atascadero       Atascadero State Hospital
 5     ASU                     Administrative Segregation Unit
       BRD                     Barricade Removal Device
 6     CCCMS or 3CMS           Correctional Clinical Case Manager System
 7     CDCR                    California Department of Corrections and Rehabilitation
       DA                      District Attorney
 8     DOM                     Department of Corrections and Rehabiliation Operations
 9                             Manual
       DSH                     Department of State Hospitals
10     EOP                     Enhanced Outpatient Program
       ICC                     Institutional Classification Committee
11
       LAC or Lancaster        California State Prison/Los Angeles County
12     LVN                     Licensed Vocational Nurse
       MHA                     Mental Health Assessment
13
       MHCB                    Mental Health Crisis Bed
14     MHSDS                   Mental Health Services Delivery System
       OC                      Oleoresin Capsicum
15     OIG                     Office of the Inspector General
16     RJD or Donovan          Richard J. Donovan Correctional Facility
       RVR                     Rules Violation Report
17     SHU                     Security Housing Unit
18     UOF                     Use of Force

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 1                                    NOTICE OF MOTION
 2         TO DEFENDANTS AND THEIR ATTORNEYS OF RECORD:
 3         PLEASE TAKE NOTICE THAT Plaintiffs, through their counsel of record, will
 4 and hereby do move for enforcement of Court orders and affirmative relief related to the
 5 use of force and disciplinary process against Coleman class members to remedy
 6 constitutional violations in this case. This motion is specifically directed at securing
 7 remedies for two of the fundamental elements of the constitutional violation found by this
 8 Court in 1995: evidence before the Court demonstrates the State’s persistent pattern and
 9 practice of using unreasonable force against inmates with mental illness, and imposing
10 discipline on inmates with mental illness in a manner that violates the Eighth and
11 Fourteenth Amendments and the Americans with Disabilities Act. Defendants’ continued
12 use of unnecessary and excessive force, and inappropriate punitive disciplinary measures
13 against Coleman class members causes them grave physical and psychological harm.
14 Plaintiffs request enforcement of Court orders and affirmative relief from this Court in
15 order to protect class members from these ongoing violations.
16         This Motion is based on this Notice of Motion and Motion, the Memorandum of
17 Points and Authorities filed herewith, the Declarations of Eldon Vail, Lori Rifkin, and Jane
18 Kahn, and the exhibits thereto, filed herewith, Plaintiffs’ Motion for Enforcement of Court
19 Orders and Affirmative Relief Re: Improper Housing and Treatment of Seriously
20 Mentally Ill Prisoners in Segregation, Plaintiffs’ Opposition to Defendants’ Motion to
21 Terminate under the PLRA and to Vacate under Rule 60(b)(5) (hereinafter “Pls.’ Opp.
22 Br.”), the Declaration of Eldon Vail in Opposition to Defendants’ Motion to Terminate
23 Prospective Relief, and all exhibits thereto, and all other documents filed in support of
24 Plaintiffs’ Opposition, the pleadings and orders on file in the above-captioned matters, and
25 oral argument or evidence permitted at any hearings on this motion.
26                   MEMORANDUM OF POINTS AND AUTHORITIES
27 I.      INTRODUCTION
28         Despite almost twenty years of work in the remedial phase of this case to reform
                                                 1
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 1 CDCR’s approach to prisoners with mental illness, one of the fundamental constitutional
 2 violations perpetuated by Defendants remains unchanged: “mentally ill inmates who act
 3 out are typically treated with punitive measures, without regard to their mental status.”
 4 Coleman v. Wilson, 1994 U.S. Dist. LEXIS 20786 at *71 (June 6, 1994). Defendants
 5 continue to inflict severe physical and psychological punishment disproportionately on
 6 prisoners for behaviors related to mental illness through unnecessary and excessive uses of
 7 force and harsh and inappropriate disciplinary sanctions. Defendants refuse to shift their
 8 perspective to view these behaviors through the lens of mental illness, instead meting out
 9 punishment for rules violations even when behavior is the result of mental illness, and the
10 punishment may exacerbate rather than ameliorate the behavior. An EOP prisoner
11 experiencing symptoms of mental illness such that he is responding to internal stimuli,
12 hallucinating, and out of touch with reality, and who commits a minor infraction, such as
13 refusing to return a food tray or come out of his cell, can trigger an entire chain of punitive
14 consequences. The series begins with custody officers’ immediate, repeated, and
15 unregulated blasts of massive amounts of OC spray into the inmate’s cell via a device
16 designed for crowd control, and is followed by physical restraint of the inmate, possibly
17 including the use of a triangle device to restrain the inmate’s wrists and lock him to
18 holding cage. A Rules Violation Report will also be issued, resulting in imposition of
19 disciplinary sanctions that may include prolonged segregation. After examining the use of
20 force and discipline against Coleman class members in CDCR, Plaintiffs’ expert, Eldon
21 Vail, a former director of Washington’s prison system, concluded, “I am left with the
22 overwhelming conclusion that they just don’t get it. . . . CDCR runs an insular system that
23 has sold themselves a delusion that inmates in California are somehow different and more
24 difficult than those in other states. They are not different; they are just treated that way
25 and the results are predictable.” (See Declaration of Eldon Vail, Dkt. No. 4385 (“Vail
26 Rpt.”) at ¶ 139.)
27         The level, nature, and scope of force that Defendants currently employ against
28 prisoners with mental illness, and the disproportionate effect of Defendants’ current
                                                 2
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 1 disciplinary process are especially shocking given the length of time this case has been in
 2 the remedial phase, ongoing monitoring by the Court and the Special Master, and multiple
 3 findings by this Court and others that identical or similar actions are unconstitutional,
 4 dangerous, and inappropriate.1 It is time to fully and finally remedy these fundamental
 5 constitutional violations. Plaintiffs seek targeted remedial orders to redress Defendants’
 6 continued unreasonable, unnecessary, and excessive use of force against Coleman class
 7 members, and to ensure that mentally ill inmates are not further victimized by cruel and
 8 inappropriate disciplinary policies and procedures.
 9 II.      SUMMARY OF ARGUMENT
10          A.     Defendants’ Unconstitutional Use of Force Against Coleman Class
                   Members
11
12          Today, Coleman class members — individuals with identified serious mental
13 illness — are regularly and routinely subjected to unreasonable, unnecessary, and
14 excessive uses of force by correctional officers in California prisons. The impetus for
15 excessive use of force is often a minor infraction or a failure to follow orders that poses no
16 serious threat to the safety and security of the institution. Rather than using force only
17 when truly necessary,2 CDCR tolerates and even encourages officers to use force as
18 retaliation for perceived disrespect for custodial authority or out of frustration when
19 dealing with a difficult prisoner. The State’s persistent use of unreasonable force against
20
21   1
    See, e.g., Gates v. Gomez, 60 F.3d 525 (9th Cir. 1995); Coleman v. Wilson, 912 F. Supp.
22 1282 (E.D. Cal. 1995); Madrid v. Gomez, 889 F. Supp. 1146 (N.D. Cal. 1995).
     2
23    See Cal. Code Regs. Tit. 15 § 3268(b) (“It is the policy of the California Department of
     Corrections and Rehabilitation (CDCR) to accomplish the departmental functions with
24   minimal reliance on the use of force.”); Department of Corrections and Rehabilitation
25   Operations Manual (“DOM”) Ch. 5, Art. 2, § 51020.4 (defining “Immediate Use of
     Force” as force used to respond without delay to inmate behavior that constitutes an
26   imminent threat to institution/facility security or the safety of persons, and “Controlled Use
     of Force” as the force used when an inmate’s presence or conduct poses a threat to safety
27   or security).
28
                                                    3
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 1 CDCR prisoners with mental illness causes grave harm to the Coleman class.
 2         Defendants’ termination use of force expert, Steve Martin, outlined the “essential
 3 components of systematic administration of force by staff in a confinement setting,”
 4 including adequate policies, effective training, strict compliance with use of force
 5 reporting requirements, effective supervisory review, complete investigation of use of
 6 force incidents, and meaningful discipline for staff who violate use of force policies. (See
 7 Report of Steve Martin, Ex. 2 to Declaration of Debbie Vorous, Dkt. No. 4279 (“Martin
 8 Rpt.”) at 11-13); see also Madrid, 889 F. Supp. at 1181. Assessed under Martin’s own
 9 criteria, Defendants’ current policies and procedures fail every single one. Although
10 Defendants may have made some progress on force and discipline issues since the
11 Coleman case was tried in 1994, the severe overcrowding during the past decade reversed
12 any such gains: the culture in California prisons today is one of force and violence,
13 dominated by punitive means of control, at the expense of all other methods of operation.
14 (Vail Rpt. at ¶¶ 104-107, 144 (“The overwhelming dominance of custody staff throughout
15 the CDCR and the structure and practices they have adopted during the years of severe
16 overcrowding result in a culture of lockdown. This approach is counterproductive to the
17 precise goals the agency wishes to achieve: safe institutions with proper treatment for the
18 mentally ill.”).) Moreover, decisions by custody staff continue to trump medical and
19 mental health input, even when contraindicated and unconnected to serious safety threats,
20 just as they did at the time of the Coleman trial. (Vail Rpt. ¶ 113.)
21         The evidence shows that the force Defendants use against class members today
22 parallels the force applied in 1995, when this Court found “substantial evidence in the
23 record of seriously mentally ill inmates being treated with punitive measures by the
24 custody staff to control the inmates’ behavior without regard to the cause of the behavior,
25 the efficacy of such measures, or the impact of those measures on the inmates’ mental
26 illnesses.” Coleman, 912 F. Supp. at 1320. Defendants’ policies, procedures, and
27 practices cause shocking and gratuitous harm, both physical and psychological, to the
28 Coleman class. While correctional officers are no longer meting out punishment via tasers
                                                4
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 1 and 37mm guns, they have simply substituted crowd control-sized OC spray canisters,
 2 expandable batons, and chemical grenades. These are weapons that Defendants’ own
 3 expert testified he has not seen issued to line officers in any other correctional system in
 4 the country. (See Declaration of Lori E. Rifkin in Support of Notice of Motion and Motion
 5 for Enforcement of Court Orders and Affirmative Relief Related to Use of Force and
 6 Disciplinary Measures, filed herewith (“Rifkin Decl.”) ¶ 3 & Ex. 2 at 141:3-18 (Excerpts
 7 from Deposition of Steve Martin, Feb. 28, 2013) (hereinafter “Martin Dep.”).)
 8          Custody officers throughout CDCR wield these weapons frequently and
 9 disproportionately against Coleman class members locked in housing cells, holding cages,
10 or even mental health crisis beds and inpatient units. And this is done with shocking
11 frequency in response to the precise types of activity this Court and others have held does
12 not warrant such response. One-third of CDCR prisons report that the rate of force
13 incidents against prisoners with mental illness is more than double the representative
14 population of mentally ill prisoners on site. (See Supplemental Declaration of Eldon Vail,
15 filed herewith (“Vail Suppl. Decl.”) ¶ 9.) Three institutions apply force against prisoners
16 with mental illness at a rate that is triple their representative population. (Id. ¶ 10.) In four
17 institutions, use of force against prisoners with mental illness comprised 87-94 percent of
18 all such incidents, whereas the population of prisoners with mental illness at those
19 institutions ranged from only 30-55%. (Id. ¶ 11.) Specific remedial orders from this Court
20 are warranted to resolves this violation.
21          B.     Defendants’ Unconstitutional Disciplinary Process for Coleman Class
                   Members
22
23          The same approach and attitude that leads Defendants to employ unnecessary and
24 excessive force to punish inmates despite — or because of — mental illness, also results in
25 unduly harsh discipline of inmates for behavior arising from or related to their illnesses.
26 Defendants’ disciplinary process does not provide sufficient accommodation or
27 consideration of mental illness, from the initial decision to issue a disciplinary charge
28 through the adjudication of guilt and determination of punishment. This leads to
                                                 5
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 1 inappropriate, severe, and disproportionate punishment of Coleman class members. Even
 2 when Defendants’ mental health assessment framework for disciplinary proceedings is
 3 “successful” because a hearing officer decides to mitigate discipline for an infraction,
 4 based on the finding of “guilt,” the inmate remains at risk of being referred to the
 5 classification committee for segregation/SHU placement and to the district attorney for
 6 additional prosecution. Defendants’ disciplinary policies and practices violate the Eighth
 7 Amendment, the Fourteenth Amendment and the Americans with Disabilities Act, because
 8 they result in discrimination and punishment against the Coleman class on the basis of
 9 mental illness.
10         After almost two decades, Defendants have been unable or unwilling to remedy this
11 issue, despite the many opportunities the Court and Special Master have afforded them.
12 Specific remedial orders from this Court are needed and warranted to protect class
13 members’ fundamental rights whenever the disciplinary process is employed.
14 III.    SUMMARY OF REQUESTED RELIEF
15         Affirmative relief is necessary to alleviate the excessive and unreasonable use of
16 force against MHSDS inmates, and the inappropriate and disproportionate discipline of
17 inmates for behaviors arising from mental illness. Both Plaintiffs’ and Defendants’ experts
18 agree that changes should be made to CDCR’s current use of force policies and practices
19 and to the disciplinary process as applied to MHSDS inmates.
20         Based on prior findings of the Special Master, and the recommendations of
21 Defendants’ and Plaintiffs’ experts, Plaintiffs request that the Court require that
22 Defendants take the following actions regarding use of force against Coleman class
23 members:
24               Revise current Use of Force policies and procedures to minimize the
                  potential for excessive uses of force against class members, especially with
25
                  respect to use of the expandable baton, OC spray, and “immediate” or
26                emergency uses of force.

27               Provide training for custody staff on use of force policies and procedures,
                  identification of symptoms of mental illness, and communication with
28
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 1                persons in a mental health crisis; and for all custody and mental health staff
                  on de-escalation methods for resolving situations without use of force.
 2                Develop criteria for training and assigning custody staff to mental health
 3                treatment units in order to ensure that they have the appropriate capacity to
                  supervise prisoners with serious mental illness.
 4
                 Revise investigatory policies and procedures to expand mandatory
 5                investigations for use of force events to include the categories recommended
 6                by Plaintiffs’ and Defendants’ experts; and require independent and
                  meaningful review of use of force by creating a unit of trained and dedicated
 7                investigators, outside the institutional chain of command.
 8
                 Implement a meaningful tracking and quality assurance system for use of
 9                force incidents and review.
10 The Court should further order the Special Master to conduct a comprehensive review of
11 use of force against Coleman class members and authorize the Special Master to hire his
12 own use-of-force expert.
13         Plaintiffs request that the Court order Defendants to take the following actions
14 regarding the disciplinary process for Coleman class members:
15               Modify the disciplinary process to create a mental health diversion or
                  mitigation prior to the issuance of a Rule Violation Report (“RVR”) and
16
                  increase the role of mental health staff in the RVR process, including
17                developing formal procedures for regular communication between custody
                  and mental health staff regarding the disciplinary process.
18
19               Provide training to custody officers and mental health staff regarding mental
                  illness, including the ways in which mental illness may affect inmates’
20                behavior and ability to comply with rules and regulations; Develop criteria
                  for training and assigning custody staff to mental health treatment units.
21
22               Revise disciplinary policies and procedures including mental health
                  assessment forms, staff assistant assignment, and classification/DA referral
23                processes.
24               Implement meaningful tracking and quality assurance systems that monitor
25                the use of the mental health assessments and the degree to which mental
                  health information is considered by hearing officers during the disciplinary
26                process, both in terms of adjudicating guilt and in terms of mitigating
                  punishment.
27
28
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 1               Ban the use of the informal “Management Status” practice in lieu of formal
                  disciplinary procedures.
 2
 3 IV.     STATEMENT OF FACTS

 4         A.     Use of Force Against Coleman Class Members

 5                1.     Original Use of Force Findings

 6         In 1994, following the original trial in this case, Magistrate Judge Moulds made
 7 factual findings in support of the Court’s conclusion that “use of tasers and 37mm guns
 8 upon mentally ill inmates without regard to the impact of such measures on an underlying
 9 mental illness violates the Eighth Amendment.” Coleman, 1994 U.S. Dist. LEXIS 20786
10 at *84. Judge Moulds found:
11               Insufficient training of custody staff on mental illness: “Custody staff within
                  CDC lack sufficient training to differentiate between an inmate who is acting
12
                  out as a result of mental illness and an inmate who is acting out for other
13                reasons. As a result, mentally ill inmates who act out are typically treated
                  with punitive measures, without regard to their mental status.” Id. at *71
14                (internal citations omitted).
15
                 Use of weapons without regard to mental illness: “Inmates who act out
16                are . . . subjected to the use of tasers and 37mm guns, without regard to
                  whether their behavior was caused by a psychiatric condition and without
17                regard to the impact of such measures on such a condition.” Id. at *74-75.
18
                 Escalation by staff leading to use of force rather than de-escalation:
19                “[C]ustody staff escalated the conflict by demanding compliance to orders.”
                  When the inmate refused to comply, staff used force. Id. at *75.
20
21               Use of force exacerbating decompensation of mental health: In addition to
                  physical injuries, “use of these weapons could, and often did, cause further
22                damage to and deterioration of the inmate’s mental condition. It also
                  reduced the possibility that future mental health treatment would be
23                successful.” Id. at *76 (internal citations omitted).
24
                 Inappropriate use of force to forcibly administer medication: “There are
25                several deficiencies in the use of involuntary medications throughout the
                  California Department of Corrections and at particular institutions in the
26
                  class.” Id. at *77-83 (describing multiple examples of uses of force to
27                involuntarily administer medication and corresponding problems).
28
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 1               Policies permitting custody staff to override medical and/or mental health
                  considerations: “[D]eficiencies are attributable to policies which permit
 2
                  custody staff to use these measures in the absence of consultation with, or
 3                against the considered advice of, medical and/or mental health
                  professionals.” Id. at *83-84.
 4
 5         Adopting the findings of the Magistrate Judge, this Court noted that Defendants
 6 appeared to draw “some unaccountable distinction between mental patients being
 7 subjected to physical as contrasted with psychological injury.” Coleman, 912 F. Supp. at
 8 1322 n.58. However, the Court also found that “there is nothing of record suggesting a
 9 penological justification for the distinction between inflicting physical as contrasted with
10 mental injury.” Id. at 1323. The Court held:
11                It is . . . plain from the undisputed evidence before the court
                  that use of either tasers or 37mm guns on members of the
12                plaintiff class can cause, and has caused, serious and
13                substantial harm to mentally ill inmates, whether or not the
                  inmate is on psychotropic medication. This harm to the inmate
14                can be both immediate and long lasting. Moreover,
15                continuation of the present practices permitting these weapons
                  to be used against inmates with serious mental disorders
16                without regard to the impact on those disorders will cause
                  serious harm to members of the plaintiff class so long as those
17                practices remain in existence.
18 Id. at 1322 (internal citations omitted).
19                2.     Defendants’ Ongoing Use of Force Against Coleman Class
                         Members
20
21         As documented by the Special Master and Plaintiffs throughout the remedial phase
22 of this case, Defendants have continued to use force in a manner that disproportionately
23 harms prisoners with mental illness.
24                       (a)    Documentation of Use of Force by the Special Master
25         In 2001, the Special Master identified the inappropriate and excessive use of force
26 against inmates with mental health disabilities as a concern during the eighth round of
27 monitoring: “The monitor reviewed incident reports involving seriously mentally
28 disordered inmates and found that most of the reported incidents described repeated and
                                                9
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 1 long bursts [of pepper-spray] (up to five or ten seconds each, instead of the one to two
 2 second bursts called for in confined spaces in CDC policy), with burst totals reaching over
 3 half a minute in some cases and requiring the exhaustion of multiple canisters.” (Eighth
 4 Monitoring Rpt. of the Special Master, Dkt. No. 1317, at 84.)
 5         Later in 2001, the Special Master found that excessive use of OC spray against
 6 prisoners on the mental health caseload continued, with more than half of the reports
 7 involving multiple applications of spray, “each ranging from seven to 47 seconds in
 8 duration.” (Ninth Monitoring Rpt. of the Special Master, Dkt. No. 1373, at 72.)
 9         In 2003, the Special Master again documented inappropriate and excessive use of
10 OC spray on prisoners with mental illness, finding that OC spray “was used to stop
11 apparent suicide attempts, compel compliance with ordered blood tests and force inmates
12 to relinquish food trays. In some incidents, particularly when inmates were held in small
13 holding cells or locked in the shower, excessive amounts of OC spray appeared to have
14 been applied. In other cases, OC spray was used on an inmate already forced to a prone
15 position on the floor.” (Twelfth Monitoring Rpt. of the Special Master, Dkt. No. 1553 at
16 92.)
17         In 2004, the Special Master reported that at CSP-Corcoran, although inmates on the
18 MHSDS caseload comprised only 25 percent of the prison’s population, they were the
19 subjects of over half the incidents involving uses of force. Moreover, “incidents resulting
20 from non-contact offenses resulted in the use of force against MHSDS caseload almost
21 three times more often than against non-caseload inmates.” (Fourteenth Monitoring Rpt.
22 of the Special Master, Dkt. No. 1648 at 41-42.) The vast majority of the incidents
23 involving use of force were “deemed to be emergencies by the custody personnel initiating
24 the application of force, thereby superseding the rules for the calculated use of force,
25 which embrace the bulk of procedures designed to protect MHSDS inmates from abuse
26 when force is utilized.” (Id.) Finally, there was no meaningful accountability through the
27 use of force review process, which was seriously backlogged. (Id.)
28         Consequently, in 2005, this Court ordered Defendants to closely monitor and report
                                                 10
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 1 to the Special Master situations involving use of force at CSP-Corcoran. CSP-Corcoran’s
 2 2005 self-study of the use of force concluded that “86 percent of incidents involving the
 3 use of force against seriously mentally disordered inmates occurred on an emergency
 4 basis, precluding any opportunity for the intervention of mental health clinicians to calm
 5 agitated caseload inmates before force was applied.”3 (Fifteenth Monitoring Rpt. of the
 6 Special Master, Dkt. No. 1746 at 142-145.) In his Sixteenth Monitoring Report, the
 7 Special Master reported that MHSDS inmates continued to be disproportionately subjected
 8 to force: in locked housing units where MHSDS inmates were approximately 32 percent
 9 of the population, they were involved in 61 percent of the incidents. (Dkt. No. 2081 at
10 151-52.)
11                       (b)    Plaintiffs’ Documentation of Use of Force and 2007 Motion
12         In 2007, Plaintiffs requested remedial orders to address Defendants’ longstanding
13 abuses of force. (Pls.’ Request for Relief Based on the Eighteenth Monitoring Rpt. of the
14 Special Master on the Defs.’ Compliance with Provisionally Approved Plans, Policies, and
15 Protocols (“Pls.’ Request”), Dkt. No. 2357, filed Aug. 9, 2007.) At that time, Plaintiffs’
16 expert, Walter “Kip” Kautzky, documented ongoing practices of unnecessary and
17 excessive use of force against inmates on the MHSDS caseload by correctional officers in
18 CDCR, including OC-spraying inmates who were either kicking cell doors or hitting cell
19 windows, and using expandable batons during calculated uses of force in the mental health
20 crisis unit in order to forcibly administer psychotropic medications. (Decl. of Walter L.
21 Kautzky in Support of Pls.’ Request (“Kautzky Decl.”), Dkt. No. 2358-4 at ¶¶ 13-14, 17,
22 25.) Mr. Kautkzy also documented, inter alia, custody officers’ escalation of mentally ill
23
24   3
     Use of force at Corcoran is still used disproportionately against mentally ill inmates.
25 According to data Corcoran reported to the Special Master in 2012, 68 percent of the uses
   of force were against Coleman class members, who compromise only 32.2 percent of the
26 population.  (Twenty-Fifth Monitoring Rpt., Dkt. No. 4298 at 219-220.) The previous
   monitoring period, 74 percent of the uses of force were against Coleman class members.
27 (Id.)
28
                                                  11
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 1 inmates’ agitation rather than attempting to de-escalate; Defendants’ failure to provide
 2 meaningful clinical interventions prior to engaging in a use of force; over-use of
 3 “emergency” use of force when no “immediate, serious threat to safety” existed; failure of
 4 supervisory and command staff to provide meaningful review or accountability for uses of
 5 force. (Id.) The Court concluded that, while “Plaintiffs’ request keeps on the table an
 6 issue that must, and will, be the subject of remedial relief if there is not a change for the
 7 better,” the Court also agreed with the Special Master that Defendants had so many
 8 remedial tasks to complete at that moment that additional recommendations and orders
 9 regarding use of force might “impos[e] more tasks that the parties’ resources cannot
10 reasonably be expected to manage.” (Aug. 27, 2007 Order, Dkt. No. 2388 at 2-3.) Thus,
11 the Court denied Plaintiffs’ motion without prejudice.
12                3.      Documentation of Current Use of Force Violations by Plaintiffs’
                          and Defendants’ Experts in the Termination Proceeding
13
14         Six years later, Defendants filed their Motion to Terminate, proclaiming all
15 constitutional issues in the case resolved.4 However, Defendants’ own use of force expert
16 found CDCR’s use of crowd-control sized OC canisters, OC grenades, and expandable
17 batons against prisoners with mental illness to be alarming. (See, e.g., Martin Dep.
18 130:12-133:6; 141:3-18.)
19         Defendants’ policies affirm the use of these weapons, do not require or provide
20 guidance that they be used in any particular sequence, and even denote OC as “the
21 preferred option for carrying out the immediate use of force” when immediate force “is
22 necessary for inmates confined in their cells.” DOM, Art. 2, Ch. 5, § 51020.11; see id.
23
24   4
    Despite this Court’s recent denial of Defendants’ motion to terminate all relief in this
25 case and finding that constitutional violations remain ongoing, Defendants continue to
   maintain that they are providing constitutionally adequate care. (See, e.g., Defs.’ Opp. to
26 Pls.’ Motion for Enforcement of Court Orders and Affirmative Relief Related to Inpatient
   Treatment, Doc. 4592 at 1, n.1 (“Defendants believe that this Court’s recent denial of their
27 motion to terminate was in error.”).)
28
                                                  12
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 1 § 51020.5 (use of force options available to CDCR staff include chemical agents, hand-
 2 held batons, physical strength and holds, less-lethal weapons and lethal weapons, and “use
 3 of force options do not have to be utilized in any particular sequence, but should be the
 4 force option staff reasonably believes is sufficient.”).
 5         Although Defendants provided only limited responses to Plaintiffs’ termination
 6 discovery requests regarding use of force, Plaintiffs’ expert documented incident after
 7 incident of excessive force used against Coleman class members. For example:
 8               In a “controlled” use of force incident,5 an MHSDS inmate housed in the
                  SHU was naked, yelling that he was the creator and threatening to kill
 9
                  himself. It was determined he needed to come out of his cell. He was
10                sprayed with OC approximately forty times, in addition to four OC grenades
                  being thrown into his cell. (Vail Suppl. Decl. ¶ 30.);
11
                 In a “controlled” use of force incident, an EOP inmate placed in a holding
12
                  cage on “Management Status”6 because of verbal disruption in the
13
14   5
       The implementing rules for Title 15 § 3268, which governs use of force in CDCR, are
15   contained in Chapter 5, Article 2 of the DOM. Section 51020.4 of the DOM defines
     “Controlled Use of Force” as “the force used in an institution/facility setting, when an
16   inmate’s presence or conduct poses a threat to safety or security and in the inmate is
     located in an area that can be controlled or isolated.” Controlled uses of force require the
17   authorization and presence of a supervisor. For controlled uses of force, staff “shall make
18   every effort to identify disabilities and note any accommodations that may need to be
     considered.” Id. Controlled uses of force are to be video recorded, and a verbal warning is
19   to be issued prior to the controlled use of force that includes an order for the inmate to
20   comply and a warning that force will be used if the inmate does not comply. Id. Section
     51020.12.2, “Controlled Use of Force Involving the Seriously Mentally Ill,” and Section
21   51020.15.1, “Chemical Agents Restrictions,” require that when inmates “are housed in
     departmental hospitals, infirmaries, Correctional Treatment Centers (CTC), Enhanced
22   Outpatient Program Units (EOP), or Psychiatric Services Units (PSU), or have an EOP
23   level of care designation,” prior to a controlled use of force that involves chemical agents
     or a cell extraction for a change in housing for treatment purposes, a licensed health care
24   practitioner be consulted and a clinical intervention attempted. The custody supervisor
25   makes the final decision about use of chemical agents. DOM § 51020.15.1.
     6
     During recent inspections undertaken in connection with termination discovery,
26 Plaintiffs’ expert observed Defendants’ use of a disciplinary procedure called
27 “Management Status.” This is “an informal disciplinary procedure where the inmate can
   be summarily disciplined by being removed from his cell, stripped to his underwear and
28 (footnote continued)
                                                13
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 1               administrative segregation unit refused to come out of the cage. Although he
                 was securely held in a holding cage, requires a cane to walk, and was not
 2               medically cleared for OC spray because of asthma, the Incident Commander
 3               approved this application of OC spray because of “institutional safety and
                 security.” The inmate was ultimately transferred to an MHCB. (Vail Suppl.
 4               Decl. ¶ 15.);
 5              In a “controlled” use of force incident against a prisoner housed in an MHCB
 6               and refusing medication, in order to forcibly administer medication,
                 correctional staff administered three blasts of OC in large dosages in less
 7               than four minutes. Although the inmate was screaming for help, he was not
 8               lucid or coherent enough to be able to follow the officer’s orders to back up
                 to the cell and “cuff up.” When the inmate eventually managed to get his
 9               hand near the food port, he was cuffed by officers on the other side of the
                 cell door, attached to a triangle device, and then sprayed with OC spray
10               again from approximately two feet away. The inmate broke away from the
11               grasp of the officers, who were still outside the cell, leaving him chained to
                 the door by a single cuff attached to the chain and triangle at the cuff port.
12               At this point, the inmate was continuing to scream and cry for help. Finally
13               the officers decided to enter the cell, which was completely wet from the
                 massive amounts of spray; all of the officers immediately slipped and fell to
14               the floor. (Vail Suppl. Decl. ¶ 14; Vail Rpt. ¶ 52.)
15              In a “controlled” use of force incident, an inmate who was decompensating
16               needed to be moved to a crisis cell and was refusing. “Intervention” by a
                 psychiatric technician lasted less than twenty seconds. Even though the
17               inmate had asthma and was deemed a “medium risk” for exposure to OC, the
                 Incident Commander decided to proceed. Officers administered four bursts
18               of OC spray. Although the inmate appeared ready to comply, staff elected to
19               spray the cell a fifth time, via a Barricade Removal Device.7 Staff became
                 verbally aggressive with the prisoner as the incident went on. When the
20               inmate was finally out of the cell and complained he could not breathe, staff
21               placed a spit mask on him. (Vail Suppl. Decl. ¶ 16.)

22              Two MHSDS inmates in Administrative Segregation refused to return their
                 food trays. In a “controlled” use of force, they were sprayed with massive
23               amounts of OC (one had asthma but the medical concern was overruled), and
24
25 have all his property removed from his possession.” (Vail Rpt. ¶ 96.) Plaintiffs address
   Defendants’ inappropriate use of this procedure in Section (VI)(B)(4), infra.
26
   7
     A Barricade Removal Device (BRD) is a system that puts a massive amount of spray in a
27 cell. (Vail Suppl. Dec. ¶ 16.)
28
                                                14
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 1                after being pulled out of the cell, were thrown to the ground, dragged with
                  unnecessary and excessive force, and a spit mask was placed on one of them
 2                despite any clear evidence that it was necessary. (Vail Suppl. Decl. ¶ 19.)
 3
                 Another “controlled” use of force was inflicted on two MHSDS inmates in a
 4                SHU who had been denied yard time and requested to speak to the Sergeant
                  to find out the reason. Their request was refused, and the inmates blocked
 5                their cell window in an attempt to get a response. In return, the correctional
 6                officers infused their cell with OC spray delivered via the Barricade
                  Removal Device four times, followed by an OC vapor grenade, removed
 7                them from their cell, and locked them in a holding cage attached to a triangle
 8                device chained to the cuff port in positions that did not allow them to stand.
                  (Vail Suppl. Decl. ¶ 21.)
 9         Both Plaintiffs’ and Defendants’ experts noted a widespread problem with
10 “controlled” force incidents where MHSDS inmates, decompensating in locked housing
11 cells, were repeatedly sprayed with OC from large crowd-control dispensers, Barricade
12 Removal Devices, or OC grenades, with each successive spraying occurring within one or
13 two minutes or even seconds of the preceding spray. (Vail Suppl. Decl. ¶¶ 16-18; Vail
14 Rpt. ¶ 58; see also Martin Dep. at 84:12-19 (it is apparent from videos and incident reports
15 that there are issues with guards using weapons successive times, or different weapons
16 successively, without giving it a chance to work before next application was applied).)
17 The “controlled” uses of force reviewed by Plaintiffs’ expert include no meaningful
18 intervention attempts by a mental health clinician, nor provision of a real “cooling off
19 period” between the officers’ orders, threats of force, and use of force. (Vail Rpt. ¶ 62;
20 Vail Suppl. Decl. ¶¶ 15-19.)8 These observations are consistent with those made by
21 Plaintiffs’ expert Kautzky in 2007, including the failure to provide clinical intervention,
22 the failure to provide a “cooling off period,” and the use of inappropriate weaponry such as
23 OC spray or the expandable baton against inmates who are secured in their cells. (Kautzky
24 Decl. ¶¶ 14 & 17.)
25
     8
26   Defendants refused to provide copies of the videos reviewed by Plaintiffs’ expert.
   Plaintiffs will seek a court order requiring the production of the videos so that they can be
27 reviewed by the Court at the evidentiary hearing.
28
                                                   15
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 1         While Plaintiffs’ expert could view the incidents described above on video
 2 recordings because they were so-called “controlled” uses of force, the vast majority of the
 3 uses of force in CDCR are categorized as “immediate” (emergency) and thus there is no
 4 video record, no prior supervisor authorization, and no meaningful accountability.9,10 (See
 5 Fourteenth Rpt. at 41-42.) Custody officers routinely employ “immediate” force against
 6 class members locked in their cells who commit minor infractions, such as refusing to
 7 return a food tray or close a food port. (See, Vail Suppl. Dec. ¶ 33; id. ¶ 34 (MHSDS
 8 inmate asking to speak with Sargent and refusing to remove her arms from food port
 9 sprayed); id. ¶ 35 (EOP inmate threw his food tray out of the food port, hitting an officer in
10 the side, and refused to close the port. In an “immediate” use of force, he was sprayed
11 with OC. The psychologist described the inmate as “[s]everely mentally ill,” “out of touch
12 with reality,” and responding to internal stimuli on a frequent basis); Id. ¶ 36 (EOP inmate
13 on suicide watch put his arm through the food port when an officer opened it. He was
14 sprayed with OC in an “immediate” use of force); Rifkin Decl. ¶ 4 (emergency use of OC
15 spray against an EOP inmate who threatened to break his food tray, stating “I have the
16 Warden in my pocket! I have paper on all of you fuckers!” The custody officer “dispersed
17 an approximate four second burst of pepper spray from my MK-9 to [inmate’s] upper body
18 from an approximate distance of three feet).) In Madrid, the Court noted that prior to
19 February 1992, Defendants used full scale cell extractions for relatively minor infractions
20 including not promptly giving up a meal tray. The Court was “not persuaded that the meal
21 tray extractions were primarily motivated by a genuine concern that inmates were
22
     9
     Section 51020.4 of the DOM defines “Immediate Use of Force” as force used to respond
23 to “inmate behavior that constitutes an imminent threat to institution/facility security or the
24 safety of persons.” Immediate use of force may be used without authorization from a
   supervisor. Id.
25 10
      Except for the 2005 Corcoran self-study, Defendants do not appear to track how many
26 uses of force are “immediate” versus “controlled” for Coleman class members, or do not
   provide that information to Plaintiffs. (Rifkin Decl. ¶ 14.) However, the Special Master
27 has noted that the majority of uses of force are “immediate.” (Fourteenth Rpt. at 41-42.)
28
                                                  16
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 1 converting meal trays into weapons.” 889 F. Supp. at 1173, n.39. Plaintiffs’ expert
 2 documented evidence of repeated custody overrides of medical recommendations against
 3 the use of OC spray, usually for inmates with asthma. (Vail Rpt. ¶ 65.) Plaintiffs’ expert
 4 also found the attitude of custody officers throughout the CDCR institutions he visited
 5 strikingly unprofessional in their disregard and disparagement of prisoners with mental
 6 illness (Vail Rpt. ¶¶ 129-139.)
 7         B.     Discipline of Coleman Class Members
 8                1.      Original Discipline Findings
 9         In his original Coleman findings, Magistrate Judge Moulds found Defendants’
10 disciplinary procedures problematic because they led to inappropriate and disproportionate
11 placement of Coleman class members in administrative segregation. See Coleman, 1994
12 U.S. Dist. LEXIS 20786 at *71-72 (“In all institutions, placement in segregated housing
13 occurs as a result of disciplinary proceedings. . . . [P]lacing mentally ill inmates in
14 administrative segregation or segregated housing exacerbates the underlying mental
15 illness, induces psychosis, and increases the risk of suicide.”). This Court found that
16 although State law at the time required Defendants to conduct case reviews and
17 psychological assessments for inmates assigned to segregated housing units, “evidence of
18 acutely psychotic and otherwise serious mentally ill inmates placed in administrative
19 segregation and segregated housing units for significant periods of time demonstrates that
20 the regulation has had little or no effect on practice.” Coleman, 912 F. Supp. at 1320 n.55.
21 Coleman class members continue to be relegated to segregated housing at elevated rates,
22 and languish there for extended periods of time. (See Twenty-Fifth Rpt. at 38; Pls.’ Mot.
23 for Enforcement of Court Orders and Affirmative Relief Re: Improper Housing and
24 Treatment of Seriously Mentally Ill Prisoners in Segregation, Dkt. No. 4580 at 6-7).
25 Defendants’ failure to resolve the serious flaws in their administration of discipline relative
26 to prisoners with mental illness continues to result in overrepresentation of Coleman class
27 members in segregated housing units.
28
                                                   17
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 1         Magistrate Judge Moulds found that:
 2                Defendants’ use of administrative segregation and segregated
                  housing . . . to house mentally ill inmates violates the Eighth
 3                Amendment because mentally ill inmates are placed in
 4                administrative segregation and segregated housing without any
                  evaluation of their mental health status, because such
 5                placement will cause further decompensation, and because
                  inmates are denied necessary mental health care while they are
 6
                  housed in administrative segregation and/or segregated
 7                housing.”
 8 Coleman, 1994 U.S. Dist. LEXIS 20786 at *74. This Court affirmed these findings as
 9 “fully supported by the evidence” and held that Defendants’ “policies and practices with
10 respect to housing of class members in administrative segregation and segregated housing
11 units violate the Eighth Amendment rights of class members.” Coleman, 912 F. Supp. at
12 1320-1321. In support of his legal conclusion, Magistrate Judge Moulds made the
13 following factual determinations:
14               Failure to determine whether misconduct is the result of mental illness:
15                “Defendants make no effort to determine when [bizarre or inappropriate]
                  behavior is the result of decompensation as a result of mental illness.”
16                Coleman, 1994 U.S. Dist. LEXIS 20786 at *71.
17               Failure to train officers resulting in punitive responses to prisoners with
18                mental illness: “Custody staff within CDC lack sufficient training to
                  differentiate between an inmate who is acting out as a result of mental illness
19                and an inmate who is acting out for other reasons. As a result, mentally ill
                  inmates who act out are typically treated with punitive measures, without
20
                  regard to their mental status.” Id. at *71 (internal citations omitted).
21
                 Failure to provide appropriate treatment to address misconduct connected to
22                mental illness: “[I]nmates who act out as a result of mental illness are often
                  treated only as custody problems and subjected solely to punitive measures
23
                  rather than provided with necessary care in conjunction with appropriate
24                discipline.” Id. at *49 n.29.
25         The cumulative impact of Defendants’ approach to discipline, which ignored the
26 role of mental illness in inmates’ misbehavior, resulted in severely punitive and
27 disproportionate discipline and segregation of prisoners with mental illness, and
28 exacerbation of their symptoms. This, in turn, made it even more challenging for
                                                18
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 1 Defendants to provide mental health treatment, which then again exacerbated mental
 2 illness and decompensation. (See Seventeenth Round Monitoring Rpt. of the Special
 3 Master, Part B, Dkt. No. 2180-3 (“17B”) at 105 (“As seriously mentally ill inmates
 4 incurred repeated disciplinary convictions, their lengths of stay in administrative
 5 segregation and eventually Security Housing Units (SHUs) grew even longer. Seriously
 6 mentally disordered inmates grew to occupy a percentage of administrative segregation
 7 and SHU cells considerably out of proportion to their presence in the overall population,
 8 yet the defendants still needed to provide them with mental health services, only now in an
 9 environment that tended to accelerate their illness and was inimical to the provision of
10 such services. The approach bred increased illness, requiring ever more treatment that was
11 exponentially more expensive and difficult to provide.”).)
12                2.     Development of the Current Discipline Process for Coleman Class
                         Members
13
14         Since the beginning of the monitoring process, the Special Master recognized that a
15 key part of providing adequate and appropriate mental health treatment is “keeping
16 seriously mentally disordered inmates out of administrative segregation as often as
17 possible and moving them out of administrative segregation as rapidly as possible once
18 they are housed there.” (Declaration of Jane E. Kahn in Support of Notice of Motion and
19 Motion for Enforcement of Court Orders and Affirmative Relief Related to Use of Force
20 and Disciplinary Measures, filed herewith (“Kahn Decl.”) ¶ 3 & Ex. 2 at 10 (5/12/99
21 Suppl. Recommendations of Special Master on Staffing Ratios and Admin. Segregation).)
22 In 1998, Defendants implemented new procedures for adjudication of RVRs for MHSDS
23 participants. Although these procedures would, in theory, incorporate “appropriate clinical
24 input from Mental Health clinicians” for all RVRs involving an inmate on the MHSDS
25 caseload, regardless of level of care, such a remedy has never actually come to fruition.
26 (Kahn Decl. Ex. 1 (8/14/98 CDCR Memorandum)); (Twenty-Third Round Monitoring
27 Rpt. of the Special Master, Dkt. No. 4124 at 20-28 (summarizing history of efforts to
28 improve mental health assessments of CCCMS inmates subject to disciplinary process).)
                                            19
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 1         In 1999 the Special Master noted that “more work needed to be done before the
 2 procedures can have their anticipated impact” and Defendants needed to “develop a plan
 3 for training mental health staff, staff assistants, and hearing officers.” (Kahn Decl. Ex. 2 at
 4 10.) In the same Report, the Special Master determined that the method defendants
 5 adopted to limit the stay of MHSDS inmates in administrative segregation, once placed
 6 there— mental health participation in the ICC process—also had “yet to live up to its
 7 potential.” (Id. at 11.) The Special Master observed the critical role of cooperative
 8 relations between custody and mental health staff, which he noted is a function of
 9 institutional leadership, and something Defendants needed to improve at the institutional
10 level. (Id.)
11         By 2001, Defendants complained that completing mental health assessments for all
12 MHSDS inmates in the RVR process was too burdensome, and proposed a new two-tiered
13 system that would refer all EOP/MHCB patients for a mental health assessment, and refer
14 only those CCCMS inmates whose behavior is “bizarre, unusual and uncharacteristic.”
15 (Kahn Decl. ¶ 4.) Plaintiffs objected and proposed that mental health assessments continue
16 to be made for CCCMS inmates, especially those with a serious rule violation that could
17 result in a SHU term or DA referral. (Kahn Decl. ¶¶ 5-7 & Ex. 4 (10/25/02 Kahn Ltr.).)
18 Defendants maintained the two-tiered standard. (Kahn Decl. ¶¶ 6-7 & Ex. 3 (9/26/11 Ltr.)
19         Following Defendants’ implementation of the new disciplinary procedures for
20 mentally ill inmates in 2002, Plaintiffs continued to note their concerns, particularly as to
21 whether mitigation of penalties for infractions connected to mental illness was actually
22 occurring, whether appropriate training had been provide to hearing officers so that they
23 could apply the mitigation policy, whether custody staff responsible for issuing RVRs in
24 had enough training to use appropriate discretion about whether to issue the RVR for
25 violations resulting from mental illness, and the effects of failure to mitigate penalties on
26 inmates who were charged with serious rule violations that could result in referrals to SHU
27 and the DA. (Kahn Decl. ¶ 9 & Exs. 5 & 6 (10/10/2003 & 3/4/2004 letters).)
28         Plaintiffs also continued to object to the standard adopted by Defendants for
                                                    20
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 1 referrals of CCCMS inmates. (Kahn Decl. ¶ 10.) Although CCCMS inmates comprised
 2 87% of the Coleman class, almost no CCCMS inmates were being referred for mental
 3 health assessments, which would, in theory, lead to the doubtful conclusion that there were
 4 virtually no CCCMS patients in the CDCR whose mental illnesses contributed to the
 5 behavior that led to the RVR which they were issued. (Id. ¶ 10 & Ex. 7 ( Kahn 12/12/2005
 6 Objections to Draft 15th Monitoring Rpt.).) This conclusion was belied by the
 7 disproportionate number of CCCMS inmates placed and retained in ASUs and SHUs
 8 systemwide. (Id.) Plaintiffs again proposed that all CCCMS inmates be referred for a
 9 mental health assessment if charged with a serious rules violation that could result in a
10 SHU term or District Attorney referral, and also proposed that any CCCMS patients with
11 multiple RVRs during a specified period of time be referred. (Id.) Again, Defendants
12 refused to change their policies. (Id.)
13         In his Fifteenth Monitoring Report, the Special Master found that “the overall
14 impact of the still-developing revised mental health assessment process has not yet been as
15 significant as was hoped.” (Dkt. No. 1746-3, at 375.) In his Seventeenth Monitoring
16 Report, the Special Master found that identification of inmate misconduct that might have
17 been caused or affected by mental illness, and appropriate institutional response was
18 “unsatisfactory” in all seven institutions reviewed for this issue. (17B at 92-93.) “The rate
19 of referral of inmates for assessment was exceptionally low” and “referral rates for 3CMS
20 inmates remained uniformly extremely low,” at under five percent of 3CMS inmates
21 receiving RVRs. (Id. at 93.) Even among the few CCCMS referrals, many of the
22 assessments “contained errors and inconsistencies and suggested strongly that clinicians
23 involved in their preparation had lost all sight of the objectives and purpose of the
24 process.” (Id.) For the mental health assessments for RVRs generally, the quality was “at
25 best, inconsistent and marginal everywhere.” (Id.) In addition to the poor quality of the
26 assessments, hearing officers demonstrated “a significant lack of understanding of the
27 process.” (Id. at 94.)
28         Moreover, the Special Master concluded that the very low number of CCCMS
                                               21
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 1 referrals was not reflective of whether mental illness was contributing to the behavior
 2 leading to the RVR because “too many inmates not referred for an assessment end up
 3 immediately or shortly thereafter in MHCBs or with referrals to more intensive levels of
 4 care or referrals for medication non-compliance, acute situational stressors or other indices
 5 of decompensation, all of which suggest that intervening mental health issues may well
 6 have played a significant role in their cited misbehavior.” (17B at 107.) Part of the
 7 problem was that “the decision to refer is entirely in the hands of the correctional officer
 8 who writes up the RVR and that individual’s custody supervisor, both of whom are often
 9 ill-equipped or unwilling to determine whether a mental health evaluation is needed.” (Id.)
10 The Special Master concluded that “the mental health assessment process in disciplinary
11 matters for 3CMS inmates has been completely marginalized” and recommended that
12 Defendants develop a plan for revising the policy, including making the criteria for referral
13 “more objective, or if left subjective, applied by, or in consultation with, mental health
14 clinicians.” (Id. at 108.) In August 2007, this Court ordered Defendants to develop this
15 plan within sixty days. (Dkt. No. 2345.)
16          On October 1, 2007, Defendants submitted a plan that included assigning a RVR
17 coordinator who was an experienced mental health clinician at each institution, developing
18 a system to track CCCMS RVRs, increasing accuracy with regard to language and nature
19 of mental health evaluations, modifying the RVR to standardize and more readily identify
20 the degree to which the mental health referral was considered in the findings and whether
21 the disposition was mitigated, and modifying training of staff on completion of RVRs for
22 CCCMS inmates. (Kahn Decl. ¶ 15.) Defendants’ plan also included a proposal for a pilot
23 project for the new RVR process at RJD, which was to begin on February 5, 2008.11 (Id.)
24
25   11
     Plaintiffs submitted comments on January 24, 2008, which included an objection that
26 Defendants’   plan revisions did not target the main problem in the existing RVR process,
   which was that the system did not actually result in mitigation of remedies for behavior
27 related to mental illness. (Kahn Decl. ¶ 16.)
28
                                                   22
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 1         On May 1, 2008, Defendants submitted a revised plan proposing that a plan be
 2 finalized (but not implemented) by November 1, 2008. (Kahn Decl. ¶ 17.) Defendants’
 3 new 2008 RVR Plan was never further revised or implemented in any form. (See Twenty-
 4 Third Monitoring Rpt. at 23-24.) Defendants did not submit any further information
 5 regarding revisions to the disciplinary process for more than three years. (Id. at 23.) In
 6 2011, Plaintiffs learned that Defendants had unilaterally implemented a new RVR Policy
 7 by means of a May 2011 memo distributed to the field with a July 1 implementation date.
 8 (Kahn Decl. ¶ 20.) The new policy directed automatic referral for a mental health
 9 assessment of some CCCMS inmates depending on the class of violation. (Id.) In late
10 2011, following discussion by the parties, Defendants modified the policy to also direct
11 referral of all CCCMS inmates who received a RVR that may result in being assessed a
12 SHU. (Id.) Defendants also represented that they would hire RVR Coordinators at every
13 institution no later than July 2012. However, to Plaintiffs’ knowledge, they have not done
14 so. (Id.)
15                3.     Documentation of Current Violations in the Disciplinary Process
                         by Plaintiffs’ and Defendants’ Experts in the Termination
16                       Proceeding
17         After almost two decades, Defendants have failed to address the fundamental
18 constitutional violation found by this Court regarding discipline of class members:
19 Defendants still discipline prisoners with mental illness without giving meaningful
20 consideration to the role of mental illness in alleged misconduct, and subject them to harsh
21 punitive measures without appropriate mitigation and without providing appropriate
22 treatment.
23         Both Plaintiffs’ and Defendants’ recent expert reports identify numerous and
24 ongoing deficiencies in Defendants’ administration of discipline of prisoners with mental
25 illness, echoing the findings and reports of the Special Master over the past two decades.
26         Plaintiffs’ expert Vail concluded that “CDCR’s RVR process is seriously
27 compromised for mentally ill inmate patients, and does not systematically account for their
28 mental illness when adjudicating prison rule violations.” He also found that “CDCR
                                                23
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 1 allows custody staff to dominate and interfere with mental health treatment.” (Vail Rpt.
 2 ¶ 34. Although Defendants do not consistently track the rates of RVRs for inmates with
 3 mental illness on a system-wide basis, Vail found that several prisons issued vastly
 4 disproportionate RVRs to inmates with mental illness. (Vail Suppl. Dec. ¶ 50.) Kern
 5 Valley State Prison issued 99% of its total RVRs to mentally ill inmates, who comprise
 6 only 34% of its prison population. (Id.) LAC issued 84% of its RVRs to mentally ill
 7 inmates, who comprise 43% of its prison population. (Vail Rpt. ¶ 78.)
 8         Defendants’ own expert identified substantial shortcomings in CDCR’s disciplinary
 9 process, including a widespread lack of communication between custody staff and mental
10 health clinicians with respect to the RVR process. (Rifkin Decl. ¶ 3, Ex. 2 at DEXP
11 105141 (Martin Best Practice Recommendations for Use of Force and RVR Process)
12 (hereinafter “Martin Recommendations”)); concern about the objectivity and “detachment”
13 of staff assistants assigned to help inmates in the disciplinary proceedings (Martin Dep.
14 181:8-12, 241:8-24.); ambiguity as to whether hearing officers actually modified or
15 mitigated penalties based on mental health assessments (Martin Recommendations at
16 DEXP 105141; Martin Dep. 177:3-24;180:19 -181:3; 218:13-20.); and failure to track
17 outcomes of RVR proceedings “in relation to the [clinical] recommendations made on the
18 assessment form.” (Martin Dep. at 221:2-18.) After reviewing RVR records for “between
19 probably 50 and 75 hours,” Mr. Martin could not recall a single instance where a mentally
20 ill class member was found not guilty of a disciplinary infraction on account of his mental
21 health. (Martin Dep. at 175:1-19, 195:16-196:1.)
22         Defendants’ approach to discipline and mental illness continues to be primarily
23 punitive, focusing on punishment for rules violations rather than considering whether
24 additional treatment or a different intervention incorporating meaningful mental health
25 input would be more appropriate and effective. For example:
26               In the incident described supra, in which an EOP inmate housed in an
                  administrative segregation unit threw his food tray through the food port,
27
                  striking an officer on his side and the officer OC sprayed the inmate, the
28                inmate was charged with a Rule Violation for battery on a peace officer with
                                                 24
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 1                a weapon. The clinician completing the mental health assessment wrote that
                  the inmate is “severely mentally ill,” “out of touch with reality” and
 2                “responding to internal stimuli on a frequent basis.” Although the hearing
 3                officer agreed that mitigation was appropriate, the inmate was found guilty
                  of battery on a peace officer, referred to ICC for SHU assessment and
 4                referred to the District Attorney for local criminal charges. (Rifkin Decl. ¶ 5
                  & Ex. 4.)
 5
 6               An EOP inmate who was being involuntarily medicated after stating that
                  God did not want her to take her medication kicked an LVN administering
 7                the second shot of medication in the buttocks and was charged and found
 8                guilty of battery on a non-prisoner. She was referred to the ICC for SHU
                  assessment. (Rifkin Decl. ¶ 6 & Ex. 5.)
 9
                 An EOP inmate housed in an MHCB and who had been referred to an
10                inpatient level of care in DSH was charged and found guilty of a Rule
11                Violation for disrespect to staff for making sexually inappropriate comments
                  to a psychiatric technician during her rounds. The mental health assessment
12                stated that he was “manic with disorganized thoughts, bizarre behavior.”
                  (Rifkin Decl. ¶ 7 & Ex. 6.)
13
14               An EOP inmate housed in an MHCB who was being transferred to an
                  inpatient level of care at ASH refused to sign his conditions of parole. He
15                was charged with a Rule Violation for refusal to sign conditions of parole.
                  (Rifkin Decl. ¶ 8 & Ex. 7.)
16
17               An EOP inmate became disruptive in group by shouting and banging on the
                  holding cell door. He was charged with a Rule Violation for refusing to
18                obey orders. (Rifkin Decl. ¶ 9 & Ex. 8.)
19               An EOP inmate asked staff in the medical unit when his dressing was going
20                to be changed. After being told that it was not changed on a daily basis, the
                  inmate lay down on the ground, “refusing staff’s orders to get up until he
21                received the medical attention he desired.” The mental health assessment
22                described the inmate as having a disorganized mental state and a
                  compromised ability to comprehend what he is being told. He was charged
23                with a Rule Violation for willfully obstructing staff in performance of duties.
                  (Rifkin Decl. ¶ 10 & Ex. 9.)
24
25         Although, as described supra, Defendants have tinkered around the edges of their

26 disciplinary policies as they relate to Coleman class members, they have largely continued
27 to ignore the primary issue: many of the behaviors for which CDCR disciplines inmates
28 result from mental illness. Because Defendants’ refuse to shift their focus to view these
                                              25
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 1 behaviors through the lens of mental illness rather than a solely punitive orientation, they
 2 continue to punish inmates for mental illness and the symptoms thereof, in ways that do
 3 not address the underlying issues — and, often, exacerbate them. Consistent with this
 4 approach, Plaintiffs’ expert noted the marked dominance of custody staff throughout the
 5 CDCR system. (Vail Rpt. ¶¶ 34, 110, 113.)
 6          Defendants’ refusal to reform their disciplinary practices is a deliberate choice. In
 7 2002, the Special Master advised Defendants:
 8                 Appropriate clinical involvement in disciplinary dispositions
                   has rich potential for an overloaded mental health caseload. In
 9                 some instances, it can reduce the number of seriously mentally
10                 ill inmates serving longer sentences than necessary and hasten
                   their discharge from CDC. For other long-term caseload
11                 inmates, sustained and thoughtful intervention in the handling
                   of their institutional offenses can result in their placement in
12
                   less restrictive, and often far less costly, programs and custody
13                 settings.
14 (Rifkin Decl. ¶ 15 & Ex. 13 (2/7/2002 Special Master Ltr.).) While Defendants may
15 attempt to characterize the Special Master’s recommended approach as “best practice”
16 rather than a constitutional floor, the reality is that Defendants’ refusal to shift their
17 approach has resulted in sustained violations of Plaintiffs’ constitutional rights.
18                                           ARGUMENT
19 V.       DEFENDANTS’ USE OF FORCE POLICIES, PROCEDURES, AND
            PRACTICES VIOLATE THE EIGHTH AND FOURTEENTH
20          AMENDMENTS AND THE ADA AND CAUSE GRAVE HARM TO
            PRISONERS WITH MENTAL ILLNESS
21
22          The deliberate indifference standard applies to systemic claims that use of force
23 policies, procedures, and practices violate the Eighth Amendment. Coleman, 912 F. Supp.
24 at 1321-23 (applying deliberate indifference standard to claim concerning use of tasers and
25 37mm guns against inmates with serious mental disorders). When correctional
26 administrators and staff use force in a manner that inflicts pain without penological
27 justification or necessity, or for the very purpose of punishment or harm, that is considered
28 to be “unnecessary and wanton” in violation of the Eighth Amendment. Thomas v. Bryant,
                                               26
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 1 614 F.3d 1288, 1307-11 (11th Cir. 2010); accord Williams v. Benjamin, 77 F.3d, 756, 761
 2 (4th Cir. 1996) (it is “generally recognized that it is a violation of the Eighth Amendment
 3 for prison officials to use mace, tear gas, or other chemical agents in quantities greater than
 4 necessary or for the sole purpose of infliction of pain.”) (internal quotations omitted); Soto
 5 v. Dickey, 744 F.2d 1260, 1270 (7th Cir. 1984) (“[I]t is a violation of the Eighth
 6 Amendment for prison officials to use mace or other chemical agents in quantities greater
 7 than necessary or for the sole purpose of punishment or the infliction of pain.”).
 8          Defendants’ disproportionate use of excessive force against prisoners with mental
 9 illness also violates class members’ rights under the Fourteenth Amendment and the
10 Americans with Disabilities Act (“ADA”) because it discriminates on the basis of
11 behaviors related to mental illness, and fails to provide appropriate accommodation for
12 disability. One-third of CDCR prisons report use of force incidents against class members
13 at a rate that is double the representative population of mentally ill prisoners at the
14 respective institutions. (Vail Suppl. Decl. ¶ 9.) Three institutions apply force against
15 mentally ill prisoners at a rate that is triple their representative population, and, in four
16 institutions, use of force against prisoners with mental illness comprised 87-94 percent of
17 all such incidents, despite class members comprising only 30-55% of the populations. (Id.
18 ¶ ¶ 10-11; see also Fourteenth Monitoring Rpt. at 41-42; Fifteenth Monitoring Rpt. at 142-
19 145; Sixteenth Monitoring Rpt. at 151-152; Martin Rpt. at ¶ 11 (approximately 70% of use
20 of force incidents he reviewed involved inmates with diagnosed mental illness).)
21          A.     Defendants Use OC Spray and Batons on Prisoners With Mental Illness
                   Without Penological Justification or Necessity and Without Regard to
22                 Effects on Mental Health
23          In 1995, this Court found that Defendants’ practice of using tasers and 37mm guns
24 on members of the Plaintiff class “without regard to whether their behavior was caused by
25 a psychiatric condition and without regard to the impact of such measures on such a
26 condition” violated the Eighth Amendment. Coleman, 912 F. Supp. at 1321-23 (internal
27 quotations omitted). In 2013, Defendants have updated the weapons used to inflict force
28 on the Plaintiff class to OC crowd-control canisters, OC grenades, and expandable batons.
                                                27
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 1 Both Plaintiffs’ and Defendants’ experts noted that CDCR is an outlier nationwide in the
 2 weapons provided to line officers to carry on their belts.12 Providing line officers with this
 3 “formidable arsenal” results in an increased “likelihood that those weapons will be used
 4 when they are not needed” and “an overreliance on force as opposed to improving and
 5 refining the officers’ verbal de-escalation skills.” (Vail Rpt. ¶ 38); see also Madrid, 889 F.
 6 Supp. at 1160-1163 (Custody personnel “have powerful weapons and enormous manpower
 7 at their disposal, and exercise nearly total control over the inmates under their
 8 supervision. . . . [I]mmediate [] resort [] to gas, guns, and tasers… reflects a pattern of
 9 using the maximum, rather than the minimum, amount of force necessary to accomplish a
10 goal.”).
11          The examples described in detail in Mr. Vail’s supplemental declaration illustrate
12 officers’ excessive use of these weapons on inmates confined in locations such as holding
13 cages and mental health crisis units. (See Vail Suppl. Decl. ¶¶ 14-15.) Several of these
14 examples show serious uses of force used to perform cell extractions, “employed, not to
15 address imminent threats to security, but to respond to relatively minor infractions,” and
16 “performed without any indication that the situation presented an imminent security
17 risk” — a phenomenon Defendants’ termination expert Steven Martin found untenable
18 when testifying on behalf of plaintiffs in Madrid v. Gomez. See 889 F. Supp. at 1173
19
     12
20      (Vail Rpt. ¶ 37 (“Line officers throughout the CDCR are routinely equipped with
     weapons more typically found in prison armories in other states . . . In other jurisdictions,
21   these weapons are restricted to either very few staff or made available only when necessary
     to control a group disturbance or riot.”); Martin Dep. 141:16-18 (“California has both, you
22   know, lethal weaponry and non-lethal weaponry to an extent with which I’m not familiar
23   in other systems.”); Martin Dep. 132:13-133:6 (has been to correctional institutions in “40
     of the 50 states” and has never seen the MK-9 [classified as a “crowd management
24   delivery system”] being “standard issue” or “carried on a person on line level” outside of
25   California); Martin Dep. 130:12-132:12 (expandable batons routinely deployed at all
     facilities Martin observed in California, but other systems don’t deploy batons “except in
26   rare instances at very, very, serious bodily injury, you know, great bodily injury threat, that
     type of thing. . . . [T]ypically you don’t see a baton present among the line staff in a
27   confinement setting.”).)
28
                                                    28
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 1 (emphasis in original). In finding CDCR’s use of force in Pelican Bay State Prison
 2 unconstitutional in that case, the Court cited the use of force in full-scale cell extractions
 3 for failure to return meal trays and abuse of batons. Id. at 1173 n.39 & 1176.
 4         In terms of CDCR’s current weapon of choice, Martin stated in his recent
 5 recommendations to CDCR that, “[w]hile I don’t question the tactical deployment of a
 6 MK-9 canister in an open area (yard, dayroom, gym, etc.) to intervene in a inmate/inmate
 7 assault, I do question the use of crowd-control delivery systems into a cell of an unarmed
 8 or unbarricaded inmate.” (Martin Recommendations at DEXP 105139.) In his deposition,
 9 Mr. Martin elaborated that in situations “in which the inmate was inside his cell, secured in
10 his cell and was not armed or barricaded, that I had concerns that sometimes, occasionally,
11 quite a lot of chemical agents used that — used with applications that weren’t necessary
12 appropriate for that setting.” (Martin Dep. at 77:24-78:19.) According to Mr. Martin, the
13 disbursement of the crowd control MK-9 in the close quarters of a cell is unnecessary and
14 increases safety risk. (Id. at 78:19-79:9.) Plaintiffs’ expert also personally observed
15 correctional officers’ response to an alarm in a mental health treatment building at
16 Corcoran, in which “several dozen staff exited their posts and ran towards the source of the
17 alarm. We witnessed that about a third of the officers had removed the batons from their
18 duty belts and carried them in their hands, raised and ready. With absolutely no
19 knowledge of the situation they were about to encounter, they were posed and ready to use
20 their batons — hardly a defensive posture.” (Vail Rpt. ¶ 42.)
21         While Plaintiffs are not suggesting that the Court find that the use of OC spray or
22 expandable batons constitutes per se excessive force, the record here reveals the routine
23 use of unnecessary and excessive levels of force against inmates with mental illness
24 without regard to the level of threat posed or the mental illness factors involved. See
25 Madrid, 889 F. Supp. at 1178 (“We need not, and do not, find that any particular weaponry
26 or cell extraction strategy constitutes a per se use of excessive force. What the record does
27 reveal, however, is the disturbing pattern — an apparent modus operandi — of routinely
28 using the same extremely high level of force, no matter the level of threat posed or the
                                                29
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 1 particularities of the situation.”); cf. Hallet v. Morgan, 296 F.3d 732, 747 (9th Cir. 2002)
 2 (institution’s use of pepper spray in a single instance where staff were properly trained in
 3 use of pepper spray, could not employ it without first being personally subjected to its use,
 4 and use of spray “is carefully considered in advance of its authorization, restricted and
 5 confined for limited purposes, and used only very sparingly.”).
 6          B.     Defendants’ Policies and Procedures Are Inadequate to Prevent Harm
                   to Class Members Resulting From Unnecessary and Excessive Use of
 7                 Force
 8          Defendants’ woefully inadequate policies and procedures enable, and, even
 9 encourage, systemic misuse of force. Despite repeated court findings, expert
10 recommendations, and even recommendations from the California Office of the Inspector
11 General (“OIG”) for reform,13 Defendants have refused to establish adequate policies and
12 procedures during the past two decades that would appropriately regulate use of force
13 against prisoners with mental illness. Even Defendants’ own termination expert made
14 “best practice recommendations” to change CDCR use of force policies and procedures
15 because where uses of force are “not controlled, not checked, not monitored, not
16 supervised, not managed, this is what you see in the pattern or practice of excessive and
17 unnecessary force.” (Martin Dep. 150:22-151:7.)
18          The Madrid Court identified five components of “[a] system that adequately
19 monitors and regulates the use of force” and Defendant’s expert Martin identified similar
20 “essential components of systematic administration of force by staff in a confinement
21 setting.” Madrid, 889 F. Supp. at 1181; (Martin Rpt. at 11-13). These components are:
22 1) Written policies that clearly identify for line staff when and how much force is
23 appropriate under different circumstances; 2) Effective training (both pre-service and in-
24 service) for all correctional staff on proper use of force and proper reporting of force;
25 3) Effective supervisory review of all use of force to ensure that it is consonant with
26
27   13
      The OIG issued four reports on the use of force within CDCR in 2011-2012.
28
                                                   30
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 1 departmental and institutional policies and procedures; 4) Proper and complete
 2 investigation of use of force incidents when appropriate; and 5) Meaningful disciplinary
 3 measures imposed on staff for the misuse of force. Id.14 Defendants’ current policies and
 4 procedures fail in each and every one of these respects, and inexcusably maintaining their
 5 constitutional violations against Coleman class members.
 6                 1.     Defendants’ Written Policies Governing Use of Force Against
                          Prisoners with Mental Illness are Inadequate
 7
 8          CDCR’s written policies regarding the use of force fail to clearly guide staff in
 9 appropriate use of force with regard to inmates with mental illness. Plaintiffs’ expert Vail
10 found:
11                 There is a discernible pattern and practice with respect to use
                   of force which is sometimes based on written policy provided
12                 to custodial staff, and at other times based on absence of
13                 written policy or a complete disregard for the
                   recommendations of CDCR’s own expert consultants. As a
14                 result, both formally and informally, the CDCR has bound
                   itself to an approach which systemically inflicts unnecessary
15
                   and excessive use of force on class members.
16
     (Vail Rpt. ¶ 142); see also Madrid, 889 F. Supp. at 1182 (“It is also clear that the absence
17
     of authoritative written guidelines allows policy to shift according to the predilections of
18
     individual mid-level staff.”).
19
20   14
        Martin additionally identified a sixth essential component: strict compliance with
21   reporting requirements when force is used. This is also a problematic area for CDCR. The
     OIG recommended that “the Department should ensure all use-of-force reports are
22   complete, accurate, and documents are submitted timely prior to final review
23   decisions…The OIG recommends that the department provide better training for report
     writing and insist on greater accountability for its reviewers.” (Nov. 2011 OIG Initial Rpt.
24   on Use of Force Within CDCR, Exec. Digest, available at:
25   http://www.oig.ca.gov/pages/reports/bir-semi-annual-sar.php (“Nov. 2011OIG Rpt.”).) In
     its January-June 2012 Use of Force Report, the OIG found that 29 percent of the use of
26   force reports did not appropriately describe the actual force used during an incident. (Oct.
     2012 OIG Use-of-Force Within the CDCR Jan-June 2012 at 5, available at:
27   http://www.oig.ca.gov/pages/reports/bir-semi-annual-sar.php. (“Oct. 2012 OIG Rpt.”).)
28
                                                   31
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 1                        (a)    “Immediate” Versus “Controlled” Uses of Force
 2          CDCR policy sets forth a general definition allowing for “immediate” use of force
 3 when inmate behavior constitutes “an imminent threat to institution/facility security or the
 4 safety of persons.” DOM, Art. 2, Ch. 5, § 51020.4. However, this definition plainly does
 5 not provide sufficient guidance to custody officers for determining whether an immediate
 6 use of force is required. Officers routinely use “immediate” uses of force to respond to
 7 inmate behavior such as failing to close their food port, or failing to return their food tray
 8 upon demand. (Vail Rpt. ¶ 67.) The consequences of the overuse of immediate, rather
 9 than controlled, force are numerous and extremely problematic for monitoring, reviewing,
10 and preventing excessive uses of force. See Madrid, 889 F. Supp. at 1172-1173 (cell
11 extractions performed without any indication that situation presented an imminent security
12 risk and “clear that minor infractions were used as a pretextual justification for inflicting
13 physical, and often brutal, punishment.”). Concerns regarding inappropriate and
14 disproportionate use of “immediate” or emergency use of force procedures against
15 MHSDS inmates have been raised by the Special Master in his monitoring reports, and
16 were highlighted by Plaintiffs’ expert Kautzky in 2007. (15th Rpt at 143-144; 14th Rpt. at
17 41; Kautzky Decl. at ¶¶ 18-20.) Immediate uses of force allow officers to bypass
18 supervisor authorization, as well as intervention by clinical staff in the case of prisoners
19 with mental illness, both of which are safeguards against employing force against inmates
20 with mental illness in the first instance. (See 14th Rpt. at 41 (“[T]he overwhelming
21 majority of incidents involving use of force in CSP/Corcoran were deemed emergencies by
22 custody personnel initiating the application of force, thereby superseding the rules for
23 calculated use of force which embrace the bulk of procedures designed to protect MHSDS
24 inmates from abuse when force utilized.”).) In fact, all limitations imposed by CDCR’s
25 policies on use of force against inmates with mental illness apply only to controlled uses of
26 force.
27          There is also no present requirement that officers videotape immediate uses of
28 force. This makes it difficult for a reviewer to determine what actually happened and what
                                                  32
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 1 force was actually used, or for an inmate to prevail on a complaint of excessive force.
 2 (Vail Rpt. ¶¶ 67-70.) Video recording safeguards against use of excessive levels of force,
 3 once force is employed. (Id. ¶ 70 (“A stern requirement for the use of a camera in a
 4 potential use of force situation wherever and whenever possible is a profound protective
 5 measure for line staff, inmates and the prison administration.”).) This lack of video
 6 accountability allows for, and tacitly encourages, officers to use force with impunity. (See
 7 id. ¶ 68 (failure to use video “permits officers to inflict physical punishment when insulted
 8 or disrespected by inmates, without creating a record that is available for review. This
 9 practice says a great deal about how CDCR’s officers view inmates and their own role
10 within the prisons, and how CDCR permits them to treat mentally ill inmates.”).) There is
11 ample evidence that officers routinely use “immediate” uses of force in situations that do
12 not warrant force at all, much less emergency uses of force that bypass the protocols of the
13 controlled use of force procedure.
14                       (b)    Force Against Inmates Manifesting Symptoms of Mental
                                Illness
15
16          CDCR policy provides insufficient guidance governing uses of force involving
17 inmates who are experiencing psychiatric decompensation or exhibiting other symptoms
18 related to mental illness. Custody officers in CDCR do not understand mental illness and
19 are not able to discern when an inmate’s failure to comply with an order or to conform
20 behavior to prison rules may be the result of mental illness. (Vail Suppl. Decl. ¶ 12; Vail
21 Rpt. ¶ 127.) Yet, the only mental health input CDCR policies currently require is that, at
22 some undefined point prior to a controlled use of force involving chemical agents or a cell
23 extraction for a change in housing for treatment purposes, a licensed health care
24 practitioner be consulted and a clinical intervention attempted.15 These policies do not
25
26   15
     See DOM § 51020.12.2 (“Controlled Use of Force Involving the Seriously Mentally Ill”
27 requiring attempt at clinical intervention by a licensed practitioner, and compliance with
   § 51020.15.1); DOM § 51020.15.1 (“Chemical Agents Restrictions” requiring a licensed
28 (footnote continued)
                                                  33
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 1 provide guidance about the preferred use of force options when dealing with an inmate
 2 manifesting symptoms of mental illness, and thus possibly unable to comply with an order
 3 being issued. Nor do current policies guide custody officers to apply appropriate de-
 4 escalation or intervention techniques; the absence of this guidance too often results in
 5 escalation of the situation by custody officers. See Coleman, 1994 U.S. Dist. LEXIS
 6 20786 at *75; Kautzky Decl. ¶¶ 13-14.
 7         Another common use of force against inmates with mental illness in CDCR is the
 8 forcible administration of psychotropic medication. In fact, a 2008 news video available
 9 publicly online follows CDCR officers proudly showing off their use of multiple sprays
10 from a crowd-sized OC canister through the food port in a locked hospital unit cell in order
11 to gain “compliance” from an inmate who refused to take medication. (Rifkin Decl. ¶ 11
12 & Ex. 10.) CDCR’s current regulations do not even address use of force for this purpose
13 even though it is something which Magistrate Judge Moulds explicitly discussed and found
14 inappropriate in 1994. Coleman, 1994 U.S. Dist. LEXIS 20786 at *77-83.
15                       (c)    Use of OC Spray
16         As the examples described above show, unnecessary and excessive use of OC spray
17 against inmates with mental illness is widespread and routine in CDCR. After previous
18 decisions by this Court, CDCR added a provision to its Department Operations Manual
19 prohibiting use of “less lethal impact munitions” in controlled use of force situations for
20 EOP inmates and inmates housed in departmental hospitals, infirmaries, and other CDCR
21 medical facilities unless authorized by the Institution Head, Chief Deputy Warden, or
22 Administrative Officer of the Day and when circumstances call for “extreme measures to
23 protect staff or inmates.” DOM § 51020.14.1. Since this rule was added, Defendants have
24 merely exchanged impact munitions for OC spray and expandable batons and left their
25
26 health care employee be consulted for inmates in departmental hospitals, infirmaries, or
   other CDCR medical facilities or who are EOP, and stating that the custody supervisor
27 makes the final decision).
28
                                               34
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 1 new weapons of choice essentially unregulated.
 2          Defendants’ own expert concluded that “the current reg[ulation]s offer no guidance
 3 regarding when OC delivery systems may be used.” (Martin Recommendations at DEXP
 4 105139.) In 2011, the OIG recommended that CDCR “ensure appropriate training for
 5 pepper spray use during cell extractions and should include guidelines for assessing
 6 exposure elements, time, and effectiveness.” (Nov. 2011 OIG Report) The OIG also
 7 reported that chemical agents were the most common type of force employed by CDCR
 8 officers and were used in approximately half of the applications of force. (Id. at 6; Oct.
 9 2012 OIG Rpt. at 4.) Nevertheless, OIG’s May 2012 Report notes that CDCR rejected
10 such recommendations and maintained that its “current use of force policy adequately
11 controls the use of pepper spray.” (May 2012 OIG Use-of-Force Within CDCR July-Dec.
12 2011, available at: http://www.oig.ca.gov/pages/reports/bir-semi-annual-sar.php.)
13          Subsequently, in 2012, Defendants’ expert Martin made specific recommendations
14 to limit Defendants’ use of OC spray, which he states is unmatched in the country. Martin
15 Dep. 132:21-133:6. The only action CDCR appears to have taken on this issue was to
16 promulgate a memo on September 12, 2012 from M.D. Stainer, Deputy Director of
17 Facility Operations, directing all Wardens “to initiate On the Job Training for Incident
18 Commanders and managers with regard to” the “expectations” that “sufficient time” must
19 be provided between application of OC products and “the review process at all levels be
20 thorough and meaningful.” (Rifkin Decl. ¶ 13 & Ex. 12 (Stainer Memo).) As Plaintiff’s
21 expert observed, this memo “fails to address the use of crowd-control sized OC dispensers
22 for cell extractions, and offers no additional guidance to CDCR custody officers. CDCR
23 also failed to incorporate Mr. Martin’s recommendations concerning the need to restrict
24 the use of crowd-control OC dispensers in individual cell extractions and to weigh all
25 canisters before and after their use.”16 (Vail Rpt. ¶ 48.) Put succinctly, CDCR appears to
26
27   16
     Mr. Vail describes additional deficiencies of the memo, including the low likelihood that
28 (footnote continued)
                                                35
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 1 have no serious interest in even establishing a policy which would effectively limit use of
 2 unnecessary weaponry against mentally ill inmates.
 3                       (d)     Use of the Expandable Baton
 4         Both Martin and Vail expressed concern about standard issue of expandable batons
 5 to line officers without sufficient instruction regarding appropriate use.17 (Martin
 6 Recommendations, DEXP 105138 (currently, there is virtually no guidance in § 51020
 7 regarding the use of the expandable baton); Martin Dep. 152 (no current guidance on use
 8 of expandable baton in CDCR); Vail Rpt. ¶¶ 39-43 (sharing Martin’s concern and noting
 9 that “ready availability of the baton, without guidance to the staff in its deployment,
10 contributes to an atmosphere of violence between CDCR staff and inmates.”).) According
11 to Mr. Martin, the expandable baton “is a tactical impact weapon deployed for self-defense
12 typically when an officer is subject to active or targeted aggression by an inmate.” (Martin
13 Recommendations, DEXP 105138.) However, although CDCR officers use the baton
14 “with disturbing frequency,” Mr. Vail did not see a single report documenting use “for
15 defensive purposes.” (Vail Rpt. ¶ 41.) “The ready availability of the baton, without
16 guidance to the staff in its deployment, contributes to an atmosphere of violence between
17 CDCR staff and inmates.” (Id.)
18
19 a memo to wardens will produce systemic change, and his own observations that the use of
   OC spray by CDCR staff did not change as a result of or since the dissemination of the
20 memo. (Vail Rpt. ¶¶ 49-51.)
21 17 Section 51020.14.1 of the DOM provides guidelines for “Use of Less Lethal Weapons
22 for Inmates Identified as Seriously Mentally Ill”: “In controlled use of force situations for
   inmates who are housed in departmental hospitals, infirmaries, or other CDCR medical
23 facilities, or who have an EOP level of care designation, the use of less lethal impact
   munitions is prohibited for direct or indirect use, i.e., body or barricade removal, unless the
24 Institution Head, Chief Deputy Warden, or AOD [Administrative Officer of the Day]
25 authorize their use. Circumstances must be serious in nature, calling for extreme measures
   to protect staff or inmates, i.e. the inmate may be armed with a deadly weapon. This does
26 not preclude staff from using impact munitions in immediate force situations to gain
   control of a disturbance in an exercise yard, dayroom, dining room, or work area,
27
   involving inmates who may or may not be known to be seriously mentally disordered.”
28
                                                  36
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 1                2.      Defendants Provide Woefully Inadequate Training to Custody
                          Staff Concerning Use of Force and Mental Illness
 2
 3         The abject failure of CDCR to adequately train custody staff is a predictable
 4 corollary to the lack of adequate and specific guidelines for use of force against inmates
 5 with mental illness. Plaintiffs’ expert Vail found that “CDCR staff do not demonstrate an
 6 understanding of what a mentally ill person might be experiencing during a use of force
 7 incident, or of how mental illness may make it difficult for an inmate to immediately
 8 conform his or her behavior in response to an order.” (Vail Suppl. Decl. ¶ 12.) Plaintiffs’
 9 2007 expert Kautzky previously opined that “when institutions do not train officers for
10 specialized assignments such as medical, mental health and special housing, the past
11 experience of other correctional officers will fill the training void. Correctional officers
12 often learn on the job from other officers how to respond in Use of Force situations with
13 less than acceptable results for the institution.” (Kautzky Decl. ¶ 9.)
14         The manner in which force is systemically being used by correctional officers
15 throughout CDCR against Coleman class members demonstrates inadequate training on
16 mental illness and appropriate use of force, including but not limited to: instruction as to
17 how to recognize and distinguish between situations where force may be necessary and
18 appropriate; how to attempt to de-escalate rather than escalate situations; how to
19 effectively use the least amount of force necessary; and how to identify, understand, and
20 interact with inmates who are experiencing or manifesting symptoms of mental illness.
21                3.      Supervisory Review of Use of Force is Ineffective and Inconsistent
22         The OIG found substantial deficiencies in the review process for use of force
23 reports and recommended in 2011 that CDCR “insist on greater accountability for its
24 reviewers.” (Nov. 2011 OIG Rpt., Exec. Digest) In 2012, the OIG found that “every level
25 of the department’s review process made errors in identifying deficiencies in use-of-force
26 reports. Of the incidents we reviewed [783], 222 contained reports with missing or
27 conflicting information after institutional incident commanders performed the initial level
28 of review.” (Oct. 2012 OIG Rpt. at 5 (emphasis added).) Defendants’ expert Martin
                                              37
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 1 agreed that supervisory review of use of force is incomplete, and further review and
 2 inquiry needed. (Martin Dep. 90:17-91:23; 93:16-94:7.) In 2007, for example, Plaintiffs’
 3 expert Kautzky found that “senior staff reviewing … incidents in the critique process did
 4 not question” the officers’ use of emergency force in situations involving application of
 5 pepper spray to class members housed in their own cells in response to minor disturbances
 6 which posed no threat of harm. (Kautzky Decl. ¶ 13.) As the Court noted in Madrid,
 7 “[t]he fact that such reports are routinely accepted leaves the clear inference that senior
 8 prison administrators not only have little concern as to what actually occurred, but that
 9 they affirmatively approve of such reports.” 889 F. Supp. at 1187.
10                4.     The Current Investigation Process Is Not Meaningful and
                         Investigation Requirements for Use of Force Incidents are
11                       Underinclusive
12         Plaintiffs’ expert Vail reviewed numerous video interviews of inmates who made
13 allegations of unnecessary or excessive use of force, and concluded that the investigation
14 process has no credibility. (Vail Suppl. Decl. ¶ 22.) He found that inmate interviews are
15 usually conducted by sergeants or lieutenants, whose “lack of skill as investigators is
16 appalling. They frequently cut the inmate off when his answers don’t follow [their
17 predetermined] script and sometimes castigate the inmates for trying to tell a more
18 complete story.” (Vail Rpt. ¶ 76.) Further, custody staff interviewing inmates who allege
19 excessive uses of force were often argumentative, did not appear to fully document
20 inmates’ versions of events, and did not explore inconsistencies between the officers’
21 versions and inmates’ clearly visible injuries. (Vail Suppl. Decl. ¶¶ 23-28.)
22         The California OIG also concluded that CDCR investigations of force are unreliable
23 and that the process “did not comply with policy and lacked transparency.” (Oct. 2012
24 OIG Rpt. at 8.) The OIG “suggested the process include the OIG as a reviewer to provide
25 transparency, and include a provision to allow the OIG to request any case be brought
26
27
28
                                                  38
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 1 before the committee if there was a concern.”18 (Id.) At the time of the October 2012 OIG
 2 Report, that proposal “was under consideration.” (Id.)
 3          Not only is the current investigation process inadequate, but it is also
 4 underinclusive, according to both Plaintiffs’ and Defendants’ experts. Defendants’ expert,
 5 Mr. Martin, observed that “full-scale investigations appear to be low” and there is a “very,
 6 very high bar of cases that have to be referred.” (Martin Dep. at 103:6-11; 105:18-106:19.)
 7 Accordingly, Mr. Martin recommended that Defendants should expand referral criteria for
 8 use of force incidents beyond death, deadly force, and great/serious bodily injury, to
 9 include: unexplained injuries, impact strikes to lethal target areas regardless of seriousness
10 of injury, incomplete/conflicting reports, and application of non-lethal weaponry that
11 exceed what would normally be expected for the type of force reported. (Martin
12 Recommendations at DEXP 105138; see also Martin Dep. at 278:3-279:11 (“Certain kinds
13 of weaponry, when they are employed, absent an obvious reason for them to be deployed,
14 should always be [investigated]. In other words, if you use an MK-46 inside of a cell, and
15 it’s not real obvious as to why you did, then it needs to be investigated. Or if you used,
16 you know, a combination of MK-9, grenades, a Z505 . . .and a T-16.”).) Mr. Martin
17 further specified that any referred incident should be subject to “an operating presumption
18 that it will be investigated.” (Id.)
19          Plaintiffs’ expert “wholeheartedly” endorsed Mr. Martin’s recommendation. (Vail
20 Rpt. ¶ 74.) However, neither Mr. Martin nor Plaintiffs are aware of any proposal by
21
22   18
        Although the California OIG purported to conduct an in-depth review of the use of force
23   in CDCR in 2011 and 2012, none of the reports on use of force issued by OIG contains any
     analysis of whether the force used by correctional officers was reasonable (i.e. whether it
24   was necessary or excessive). (See Vail Suppl. Decl. ¶ 43.) Assessing reasonableness of
25   the use of force should be the central purpose and question of a use of force review, but
     OIG apparently did not conduct this inquiry. Rather, OIG focused on whether the force
26   was “effective.” Clearly, OIG’s review was not designed to analyze the legality and
     constitutionality of CDCR’s use of force policies, procedures, and practices, and, therefore,
27   is not an appropriate substitute for a meaningful external investigation process. (Id.)
28
                                                   39
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 1 Defendants to expand the criteria by which they refer use of force incidents for
 2 investigation. (Martin Dep. at 107:25-108:15; Vail Rpt. ¶ 75.) Rather, the latest OIG
 3 Report states that the OIG actually recommended that CDCR investigate fewer incidents,
 4 and CDCR appears leaning toward implementing this recommendation. (Jan. 2013 OIG
 5 2012 Annual Rpt. at 8-9, available at:
 6 http://www.oig.ca.gov/media/reports/OIG/annual/2012%20OIG%20Annual%20Report.pdf
 7 (“[W]e have temporarily discontinued our UOF reporting to give the department time to
 8 implement a new use-of-force process. The new process was designed by CDCR
 9 following a recommendation by the OIG to streamline the use-of-force incidents allowing
10 greater scrutiny of the more serious incidents.”).)
11                5.     No Meaningful Discipline Is Imposed on Staff for Misusing Force
                         Against Coleman Class Members
12
13         A key component of effective use of force policies and procedures is discipline for
14 staff who misuse force. However, Defendants’ own expert “was not able to document a
15 fully realized imposition of a disciplinary sanction for [any] excessive use of force” that he
16 reviewed. (Martin Dep. 95:18-96:1.) Nor did he find any investigation sustaining use of
17 force violations in his review of CDCR uses of force system-wide. (Martin Dep. 101:10-
18 13.) Plaintiffs’ expert Vail agreed that this was a serious deficiency:
19                That Mr. Martin, in more than a year of work with full access
                  to CDCR documents and officials, was unable to locate even
20                one example of an officer disciplined for excessive UOF is
21                powerful evidence that the UOF review and employee
                  discipline system is badly broken and ineffective. The absence
22                of a transparent and effective review and employee discipline
                  system is, in and of itself, a message to line staff that they will
23
                  likely suffer no consequences for the unnecessary and
24                excessive use of force against inmate patients.
25 (Vail Rpt. ¶ 72.)
26         C.     This Court Should Issue Specific Remedial Orders Directing Defendants
                  to Cure Their Dangerous and Unconstitutional Use of Force Practices
27
28         Based on the longstanding history and continuing evidence of abuse of force against
                                                40
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 1 Coleman class members, as well as Defendants’ refusal to acknowledge ongoing
 2 constitutional violations that must be addressed, this Court should issue specific remedial
 3 orders directing Defendants to cure their dangerous and unconstitutional use of force
 4 practices with respect to mentally ill prisoners.19
 5                 1.     The Court Should Order Defendants to Revise Current Policies
                          and Procedures to Minimize the Potential for Excessive Use of
 6                        Force Events
 7          Experts on both sides of this litigation agree that CDCR’s current policies and
 8 practices governing the use of force are problematic, and result in unnecessary and
 9 excessive uses of force against class members, especially with respect to use of the
10 expandable baton and OC spray. Defendants must revise their use of force policies to
11 minimize the potential for excessive use of force events associated with these weapons.
12 (See Vail Suppl. Decl. at ¶¶ 6, 41; Martin Recommendations at DEXP 105138-105139.)
13 Defendants must also revise their procedures to enforce the restriction of “immediate” uses
14 of force to those enumerated in their policy: “inmate behavior that constitutes an imminent
15 threat to institution/facility security or the safety of persons.” DOM, Ch. 5, Art. 2 §
16 51020.4. These policy and procedure changes must be paired with enumerated restrictions
17 and guidelines for using force against prisoners with mental illness.
18          Because of evidence of specific abuse and harm, the Court should:
19                Prohibit Defendants from using OC spray and expandable batons against
                   inmates with mental illness in housing units, holding cages, mental health
20
                   crisis bed units, EOP units, and inpatient hospitalization units, except when
21
22   19
        The need for orders from this Court to correct these violations was explained by
23   Defendants’ own expert, Mr. Martin. Mr. Martin described his concerns about problems
     with the large amount of force CDCR routinely uses on inmates and the unnecessary risk
24   of harm it creates, stating, “[t]his has not been secret, what I’ve identified here. This has
25   been out there for everybody to see. But people count beans. The Special Master just
     counts events. They haven’t looked at actual applications.” Martin Dep. at 81:23-88:4. In
26   fact, Martin expressed surprise that the Special Master, the Court, and Defendants had not
     already addressed these problems: “I’m just wondering, you know, where’s everybody
27   else been in this thing?” Id.
28
                                                   41
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 1                 circumstances call for extreme measures to protect staff or inmates.20
 2                Prohibit Defendants from using corporeal punishment on class members who
 3                 commit minor violations which do not present an imminent threat to
                   institution security or the safety of persons. Examples include, but are not
 4                 limited to, inmates who fail to give up a food tray, fail to close the food slot
                   in a cell door, or who kick a cell door. (See Vail Suppl. Decl. ¶¶ 6, 41.)
 5
 6                Prohibit Defendants from administering OC spray through the use of crowd-
                   size canisters or grenades, and cease providing OC spray and expandable
 7                 batons to all line officers as part of routine weapons issue. (See Martin
                   Recommendations at DEXP 105138 (“MK-9 OC canisters are standard issue
 8
                   to line-level CO’s. The MK-9 is classified as a ‘crowd management’
 9                 delivery system.’”).) Any OC canisters or expandable batons that are issued
                   should be based on an officer’s assignment to a particular post, and as
10                 determined by the security needs of a particular unit.
11
                         OC canisters should have a wand attachment, and should be weighed
12                        before and after each use in order to monitor and regulate the amount
                          of chemical spray being used against inmates. Defendants must
13                        promulgate clear guidelines regarding the amount of OC spray to be
14                        dispensed, the distance from which it should be dispensed, and
                          required waiting periods between subsequent applications. (See Vail
15                        Suppl. Decl. ¶ 41; Martin Recommendations at DEXP 105139.)
16                       Expandable batons should be restricted to defensive (rather than
                          offensive) use, and limited to use in situations involving the safety of
17                        the officer or in which there is risk of death or serious bodily harm to
18                        staff or another inmate. (See Vail Suppl. Decl. ¶ 41; Martin
                          Recommendations at DEXP 1015138.)
19
                  Require implementation of a policy that enumerates specific reasons for
20                 using a spit mask on a prisoner subsequent to the application of OC spray,
                   and requires strict reporting and investigation any time a spit mask is so
21                 used.
22
                  Order Defendants to supply every security station with a handheld camera
23                 which is to be used whenever possible during “immediate” or emergency
                   uses of force, and any subsequent uses of force. Specific officers in each
24
                   shift should be designated to be responsible for video recording uses of force
25
     20
26   This proposed restriction is similar to Defendants’ current restriction on using less lethal
   munitions against inmates with mental illness in specified units. See DOM § 51020.14.1;
27 (see also Vail Suppl. Decl. ¶ 41.)
28
                                                 42
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 1                 occurring on the unit.
 2                 2.     The Court Should Order Defendants to Provide Training to
                          Custody Officers and Mental Health Clinicians Related to Use of
 3                        Force and Mental Illness
 4          The Court should order Defendants to provide training for all custody staff
 5 regarding changes to policies and procedures concerning use of force outlined above, and
 6 education about mental illness generally, including identification of symptoms of mental
 7 illness and communication with persons in mental health crisis. (See Vail Suppl. Decl. ¶
 8 42.) The Court should also order Defendants to provide training for all custody and mental
 9 health staff on de-escalation methods for resolving situations without use of force. (Id.)
10 The Court should further require Defendants to develop criteria for training and assigning
11 custody staff to mental health treatment units in order to ensure that they have the
12 appropriate capacity to supervise prisoners with serious mental illness.21 (See Vail Rpt. ¶
13 146.)
14                 3.     The Court Should Order Defendants to Revise Policies and
                          Procedures to Ensure Accountability Through a Meaningful
15                        Investigative Process
16          Plaintiffs’ and Defendants’ experts agree that Defendants’ current use of force
17 investigation policy too narrowly limits uses of force that trigger mandatory investigation
18 to events that result in death, deadly force, and great or serious bodily injury. The Court
19 should order Defendants to expand mandatory investigations for use of force events to
20 include the categories recommended by Vail and Martin: those uses of force which result
21 in 1) unexplained injuries; 2) impact strikes to lethal target areas (head, eyes, throat, spine
22 or groin) regardless of the seriousness of the injury; 3) incomplete or conflicting reports;
23 4) application of non-lethal weaponry that exceeds what would normally be expected for
24
25   21
     Plaintiffs’ expert Vail described a successful program in which line officers for mental
26 health units “were replaced by a new job category, correctional mental health counselors,
   who were part of the treatment team.” (Vail Rpt. ¶ 116.) This may be an effective model
27 for Defendants to use in some of the inpatient, MHCB, and/or EOP housing units.
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 1 the type of force reported; or 5) allegations by inmates of excessive use of force. (Martin
 2 Recommendations at DEXP 105138; Vail Rpt. ¶ 74; Vail Suppl. Decl. ¶ 39.)
 3          To ensure actual accountability for misuse of force, the Court should also require
 4 Defendants to revise their investigation policies and procedures to allow for independent
 5 and meaningful review. (See Vail Suppl. Decl. ¶¶ 40, 43.) Defendants should create a unit
 6 of trained and dedicated investigators, outside the institutional chain of command, to
 7 review uses of force, which would provide true accountability for excessive force
 8 practices.22 (Id.) This investigative unit should report their findings, including whether
 9 uses of force were found to be unreasonable or excessive, and recommend disciplinary
10 measures where appropriate, to CDCR headquarters and, for those uses of force involving
11 Coleman class members, to the Special Master.
12                 4.    The Court Should Order the Special Master to Review Use of
                         Force Against Mentally Ill Inmates and to Help Defendants
13                       Develop Meaningful Tracking and Quality Assurance Systems To
                         Monitor Use of Force Against Coleman Class Members
14
15          As this Court and the Special Master have recognized over this lengthy remedial
16 process, development of tracking and quality assurance mechanisms are key components
17 for remediating systemic constitutional violations. The Court should order the Special
18 Master to undertake a comprehensive review of use of force against MHSDS inmates, and
19 authorize the Special Master, at his discretion, to hire one or more experts on custodial use
20 of force in the context of inmates with mental illness. (See Vail Suppl. Decl. at ¶ 43.) This
21 expert and the Special Master should work with Defendants and Plaintiffs to develop a
22 plan to remedy the systemic and ongoing use of force abuses in this case, including
23
24   22
     The recommendation for review of use of force incidents by an autonomous unit is
25 consistent with recommended practices for police forces throughout the country, which use
   separate Internal Affairs units that report directly to the agency head or deputy. (See, e.g.,
26 Standards   and Guidelines for Internal Affairs: Recommendations from a Community of
   Practice, Community Oriented Policing Services, U.S. Dep’t. of Justice at 27, available at:
27 http://ric-zai-inc.com/Publications/cops-p164-pub.pdf.)
28
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 1 implementation of meaningful tracking and quality assurance systems.
 2 VI.     DEFENDANTS’ DISCIPLINARY POLICIES, PROCEDURES, AND
           PRACTICES VIOLATE CLASS MEMBERS’ RIGHTS UNDER THE
 3         EIGHTH AND FOURTEENTH AMENDMENTS AND THE ADA AND
           CAUSE HARM TO PRISONERS WITH MENTAL ILLNESS
 4
 5         Defendants’ disciplinary practices violate the Eighth Amendment rights of class
 6 members by punishing prisoners for behavior resulting from mental illness, including
 7 subjecting them to lengthy punitive placements in severe and isolated segregated housing
 8 environments. Defendants’ disciplinary practices also violate the Fourteenth Amendment
 9 and the ADA because they disproportionately punish and segregate prisoners with mental
10 illness, based on symptoms of mental illness, and because Defendants’ cause class
11 members to be housed in more restrictive settings than needed for treatment. See
12 Olmstead v. L.C. ex rel Zimring, 527 U.S. 581, 597 (1999); 42 U.S.C. § 12132; 42 U.S.C.
13 § 12101; 28 C.F.R. § 35.130(d); Biselli v. Cty. Of Ventura, 2012 U.S. Dist. LEXIS 79326,
14 *44-45 (C.D. Cal. June 4, 2012) (rejecting jail’s motion for summary judgment on ADA
15 claim where plaintiff was placed in the administrative segregation unit based on conduct
16 specifically linked to mental illness, without input from the mental health staff at the jail,
17 and despite indications that segregation was adverse to mental health condition).
18         For years, Defendants have engaged in half-hearted (at best) and inadequate
19 revisions of their disciplinary process with respect to mentally ill inmates. While it was
20 appropriate for the Court to give deference to Defendants to determine what policy and
21 practice changes should be made remediate their constitutional violations with respect to
22 discipline of Coleman class members, nearly twenty years is long enough. Compare Lewis
23 v. Casey, 518 U.S. 343, 361-63 (1996) with Plata v. Brown, 131 S. Ct. 1910, 1923 (2011).
24 Rather than having made meaningful progress, Defendants continue to subject Coleman
25 class members to punitive disciplinary measures for behavior related to mental illness and
26 to impose punishments that further exacerbate mental illness. Accordingly, it is
27 appropriate for this Court to issue further and more specific remedial orders to finally
28 rectify Defendants’ continued violation of class members’ rights with respect to
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 1 disciplinary practices.
 2         A.     Defendants’ Punish Coleman Class Members for Mental Illness and Fail
                  to Appropriately Mitigate Disciplinary Sanctions
 3
 4         Defendants’ continued failure to address constitutional violations perpetuated
 5 through their disciplinary process is rooted in a refusal to meaningfully incorporate an
 6 awareness of mental illness into their approach and to change their basic orientation from
 7 exclusively punitive. The alternative would be an approach that acknowledges the role
 8 mental illness plays in behavior, as well as the role actual treatment (alone or in
 9 combination with discipline) can have in addressing such behavior. Plaintiffs’ expert Vail
10 concluded that the marginalized role of mental health staff “is a fundamental flaw in
11 CDCR’s approach to managing the mentally ill.” (Vail Rpt. ¶ 113.)
12         The factors contributing to the failure of the current RVR process to remediate the
13 constitution violation are the same factors identified by this Court and the Special Master
14 over the years:
15               Failure to provide adequate training to custody staff regarding mental illness,
                  resulting in punitive responses to persons with mental illness: “Custody staff
16
                  in the living units where the mentally ill inmates are housed, especially in the
17                EOP units, are not sufficiently trained to work with the mentally ill on a day
                  to day basis.” (Vail Rpt. ¶ 127); “Custody staff need to be trained to
18                understand that some mentally ill inmate patients will not be able to conform
19                quickly to their orders. … Inmates wind up being disciplined and react
                  accordingly — some with aggression and some who choose to withdraw to
20                their cells rather than face more confrontation. Neither option works to
                  improve the mental health of inmate patients.” (Id.)
21
22               Failure to appropriately refer inmates charged with rule violations for mental
                  health assessment: Under the current system, the officer who writes up a
23                CCCMS inmate for RVR decides whether the inmate should be referred for
                  mental health assessment, without any input from a clinician. Consistent
24
                  with the Special Master’s observations in his Seventeenth Monitoring
25                Report, Plaintiffs’ expert Vail found that CCCMS inmates are still almost
                  never referred for mental health assessments when the referral is
26                discretionary, “likely because a custody officer does not have sufficient
27                training or skill to evaluate the behavior of mentally ill inmates.” (Vail Rpt.
                  ¶ 80; see also 17B at 92-93.) Consistent with the Special Master’s prior
28                observations, Plaintiffs’ expert further opined that, “[g]iven the very fine line
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 1                 between an inmate who is categorized as EOP and one who is not, it is likely
                   additional inmates would benefit” from a referral, and in order to have
 2                 sufficient information to make this judgment, mental health staff should be
 3                 involved. (Vail Suppl. Decl. ¶ 50.)

 4                Lack of meaningful or effective mental health input into the disciplinary
                   process: The forms used by clinicians for mental health assessment and by
 5                 hearing officers for reporting the outcome of disciplinary procedures are not
 6                 useful tools for meaningful information sharing between clinical and custody
                   staff. (Vail Suppl. Decl. ¶ 54.) They are unclear, can largely be completed
 7                 via check boxes and rote language, and do not provide enough information to
 8                 communicate between mental health and custody or to track results. (Vail
                   Rpt. ¶¶ 82-83; Martin Recommendations at DEXP 105141-105142.)
 9                 Moreover, because there is no communication between mental health staff
                   and custody staff about the disciplinary process or outcomes, clinicians
10                 appear not to put much stock in the mental health assessment process. (See,
11                 e.g., Vail Suppl. Decl. ¶ 51 (clinicians have no idea if their recommendations
                   in mental health assessments are ever paid attention to or valued or are
12                 simply “lost in the ether”).)
13
                  Failure of the hearing officer to properly consider mental illness in
14                 determining culpability, and, subsequently, in determining mitigation.
                   Defendants’ expert Martin did not recall finding any instances where the
15                 mental health status of an inmate led to a finding of not guilty. (Martin Dep.
16                 at 175:1-19.) Hearing officers routinely use formulaic language “I took the
                   MHA into consideration” without any further explanation. (Vail Rpt. ¶ 85.)
17                 For this reason, Defendants’ expert “believed after doing [his] review that
                   there should be a requirement or a strong recommendation that they
18                 articulate specifically how they [hearing officers] incorporated the clinician’s
19                 recommendation of including that consideration in the disposition.” (Martin
                   Dep. 177:8-12).
20
            Further, there are additional problems with the disciplinary system which prevent
21
     remediation of constitutional and federal law violations, including:
22
                  Failure to provide appropriate accommodation in the RVR Hearing Process:
23
                   Although Defendants’ policy requires an assigned staff assistant for
24                 disciplinary hearings as an accommodation for prisoners with serious mental
                   illness, the staff assistant does not actually serve the function that was
25                 envisioned. This results from numerous problems with the assignment of
26                 staff assistants, including assignment of custody officers who are
                   subordinates in the same chain of command or unit as the hearing officer,
27                 assignment of custody officers who do not understand mental illness and
                   assignment of custody officers who were involved in the incident giving rise
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 1                to the RVR or complete the investigation of the incident. (See Vail Rpt. ¶
                  93; Rifkin Decl. ¶ 6 & Ex. 5.) Plaintiffs’ expert concluded that “the current
 2                process for selecting staff assistants renders them essentially meaningless.”
 3                (Vail Rpt. ¶ 93.) As a result, inmates with mental illness are not able to
                  participate meaningfully in the disciplinary hearing.
 4
                 Punishment of prisoners with mental illness for behavior related to mental
 5                illness even after mitigation is determined to be warranted: Even when a
 6                hearing officer determines that mitigation is warranted based on a
                  determination that mental illness contributed to or caused the offending
 7                behavior, inmates are referred to classification committee for possible SHU
 8                terms and to the District Attorney for possible local criminal charges.
                  Plaintiffs reviewed multiple examples of these referrals in the documents
 9                provided by Defendants. (Rifkin Decl. ¶ ¶ 5-6, 12 & Exs. 4-15, 11; see also
                  Kahn Decl. ¶ 18 & Ex. 8 (5/19/2008 Kahn Ltr.)
10
11               Failure of Defendants to create a meaningful tracking system: Defendants
                  have repeatedly chosen not to implement a tracking system that would allow
12                for meaningful analysis of the outcomes of the mental health assessment
                  process. In 2002, the Special Master wrote to Defendants:
13
14                Evaluation of the impact of the current version of the mental
                  health assessment process has been severely handicapped by
15                the absence of a requirement that institutions track the outcome
                  of disciplinary cases involving assessment. Credible and
16                comparable data from 33 institutions on the revised assessment
17                process requires the department to develop a uniform
                  procedure and instrument for its collection in each facility
18                before institution use of the revised process begins. . . . In the
19                absence of such data, the institutions, the department and the
                  monitor are all incapable of assessing the impact and utility of
20                the process.
21 (Rifkin Decl. ¶ 13 & Ex. 12 (2/7/2002 Special Master Ltr.).) Defendants have declined to
22 rectify their failure to gather appropriate data. The only data point Defendants track in the
23 Mental Health Assessment process is whether a mental health assessment was completed,
24 not what it recommended, whether it was considered, or whether it was followed or
25 disregarded. (See Vail Decl. ¶ 89, id. at ¶ 79 (very little aggregate data available to track
26 the outcomes of RVRs issued to mentally ill inmates, which is serious limitation in being
27 able to judge efficacy of any accommodations for mentally ill inmates); Martin Dep. at
28 193:16-194:17 (no tracking of what happens with mental health assessments in RVR
                                              48
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 1 process); id. at 192:11-22 (while CDCR tracks whether MH assessment was done, do not
 2 drill down to how it was applied).)
 3         Overall, Defendants’ disciplinary practices reflect continued systemic dominance of
 4 custody over clinical determination, and the same critical failure in the relations between
 5 mental health staff and custody staff at the institutional level that the Special Master
 6 identified in 1999. Both custody and clinical staff need to understand how mental illness
 7 contributes to or causes behavior, what custodial ramifications that may have, and how
 8 custodial measures may further affect mental illness and potentially make behavior worse
 9 rather than better. For example, Defendants’ expert Mr. Martin discussed the difference
10 between an approach to accommodating a disability that considers only “mitigation”
11 versus one that also allows for “tailoring”:
12                I think it’s important, as a policy matter would be, if I’m a
                  warden or a manager, to be given guidance on both of these.
13                The latter, of tailoring so as not to complicate or aggravate the
14                condition, is extremely important, and I want that—I’m
                  warden, I say, I want that done. Any time a clinician says, if
15                you take away his TV he’s going to decompensate, you better
                  not be taking away his TV. Take away something else.
16
                  Mitigation, on the other hand, I think is an appropriate
17                discretionary decision to the hearing officer you know. You
                  got the clinician’s input, but I’m not going to tell him he has to
18                mitigate. I’m going to require him to seriously consider
19                mitigating. So there’s two kind of functions there that I would
                  want to manage fairly carefully.
20
21 (Martin Dep. at 177:25-179:1.) Such adjustments are not currently possible in the CDCR
22 system, where “[t]he dominance of custody staff in the RVR process is built into its very
23 structure.” (Vail Rpt. ¶ 92.)
24         Defendants’ long-standing failure and refusal to institute an appropriate disciplinary
25 process to remediate their constitutional violations necessitates further and specific relief
26 from this Court.
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 1          B.     This Court Should Issue Specific Remedial Orders Directing Defendants
                   to Cure Their Unfair and Harmful Disciplinary Practices With Regard
 2                 to Coleman Class Members
 3                 1.    The Court Should Order Defendants to Create a Mental Health
                         Diversion Process Prior to Issuance of a Rule Violation Report
 4
 5          This Court should order Defendants to revise their policies and procedures to
 6 provide for the possibility of a mental health diversion or mitigation prior to the issuance
 7 of an RVR. This is an accommodation that is warranted based on class members’ mental
 8 health disability and can significantly prevent the vast over-disciplining of class members
 9 that presently occurs. (See Rifkin Decl. ¶ 13 & Ex. 12 (2/7/2002 Special Master Ltr.).)
10 The disciplinary process should include both custodial and clinical input, and should be
11 paired with training, including training about the ways in which mental illness may affect
12 inmates’ behavior and ability to comply with rules and regulations. (See Vail Suppl. Dec.
13 ¶ 56.) As with the requested relief regarding use of force, supra, Defendants should also
14 develop criteria for training and assigning custody staff to mental health treatment units in
15 order to ensure that they have the appropriate capacity to supervise prisoners with serious
16 mental illness.
17                 2.    The Court Should Order Defendants to Develop Formal
                         Procedures to Create Communication Between Custody and
18                       Mental Health Staff Regarding the Disciplinary Process
19          The Court should order Defendants to institute formal procedures to generate
20 productive communication between custody and mental health staff. Defendants’ own
21 expert concluded this key element of disciplinary practice was lacking throughout most of
22 the CDCR system with the exception of RJD.23 (Martin Recommendations at DEXP
23
24   23
       As previously noted, in 2007, Defendants proposed a pilot program to reform the
25   disciplinary process at RJD. Although this program allegedly began in February 2008,
     Plaintiffs never received further information, and it appears that Defendants deliberately
26   chose not to expand these changes to other institutions. However, Mr. Martin’s
27   observations about some of the successes of the RJD program offer hope that Defendants
     may be able to successfully enact change if ordered to do so. Without further investigation
28   (footnote continued)
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 1 105141; see also Vail Suppl. Decl. ¶ 56.)
 2         During party discussions in 2002, the Special Master noted that Defendants had
 3 originally included a procedure for the hearing officer to confer with a clinician on the
 4 appropriateness of a disposition whenever an assessment indicated that the inmate’s
 5 behavior was influenced by mental illness:
 6                 From its earliest, appearance, I thought the deleted provision
                   was a vehicle cleverly calculated to promote understanding
 7                 between clinicians and those responsible for institutional
 8                 discipline about the difficult and delicate relationship between
                   mental illness and behavior…I can think of no better way than
 9                 this compulsory dialogue to enhance understanding between
                   mental health and custody staffs at the institutional level on
10
                   this issue. I lament its excision and urge its reinstatement.
11 (Rifkin Decl. ¶ 3 & Ex. 12 (2/7/2002 Special Master Ltr.).) Unfortunately, the lack of
12 engagement between custody and mental health staff remains a primary barrier to
13 remediating violations in this area. (See Vail Rpt. ¶ 103 (“mentally ill patients in the
14 CDCR are receiving a disproportionate number of RVRs and are being subjected to
15 disproportionate UOF because of the lack of integration of custody and mental health
16 staff.”); id. ¶ 113(“Mental health staff are treated as visitors to the units, not as co-workers
17 who belong and share the workload of managing inmate behavior.”; Martin Dep. 198:7-12
18 (no systemic mechanism for communicating between custody and clinical mental health
19 staff about results of RVR process).)
20
21
22
23
     by the Special Master or Plaintiffs, or results from the pilot that Defendants allegedly
24   implemented there, but did not report on for more than three years, it is unclear the extent
25   to which this assessment is accurate. (See Twenty-Third Round Monitoring Rpt. of the
     Special Master, Dkt. No. 4124, at 22-26.) If Defendants propose to create a disciplinary
26   process based on the local operating procedures at RJD, the Court should order Defendants
     to provide the Special Master and Plaintiffs’ counsel access to inspect the program at RJD
27   for the purposes of determining whether it could be an appropriate model for the system.
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 1                3.     The Court Should Order Defendants to Revise Their Disciplinary
                         Policies, Procedures, and Forms to Meaningfully Incorporate
 2                       Mental Health Input, Stop Referring Class Members to
                         Classification and/or the District Attorney for Behavior Arising
 3                       from Mental Illness, and Allow for Tracking and Quality
                         Assurance
 4
 5         Defendants must significantly revise and restructure their system for administering
 6 discipline, including their policies, training, forms, staff assistant assignment, and
 7 classification/DA referral processes. (Vail Suppl. Decl. ¶¶ 55-58, 62.) Defendants must
 8 also implement meaningful tracking and quality assurance systems that monitor the quality
 9 of the mental health assessments and the degree to which mental health information is
10 considered by hearing officers during the disciplinary process, both in terms of
11 adjudicating guilt and in terms of mitigation of punishment. (Vail Suppl. Dec. ¶¶ 59.)
12         Experts for both sides agree that the current mental health assessment form is
13 ambiguous and unclear, which leads clinicians to fill it with inconsistent categories of
14 information that vary widely in their utility for hearing officers. (See Vail Rpt. ¶¶ 81-84;
15 Martin Recommendations at DEXP 105141-105142.) The Court should order Defendants
16 to revise their forms for the disciplinary process in order to ensure meaningful mental
17 health input and consideration. For example, as Defendants’ expert recommended, CDCR
18 should revise the form to eliminate “yes/no” check boxes to answer questions as to
19 whether mental illness played a role in the underlying violation, and, instead, require
20 narrative explanations in layman’s terms of any mental health factors involved. (See Vail
21 Suppl. Decl. at ¶ 57; Martin Recommendations at DEXP 105141-105141) Similarly,
22 Defendants’ expert also recommended that hearing officers be required to affirmatively
23 state whether and how they modified and/or mitigated their findings based on the
24 information contained in the mental health assessment.
25         The Court should also order CDCR to develop a new protocol for the provision of a
26 staff assistant to ensure that this is actually a meaningful and effective accommodation.
27 This protocol should include a prohibition of the assignment of a staff assistant who is in a
28 direct reporting line to the hearing officer or who was involved in or who investigated the
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 1 incident giving rise to the RVR. The category of staff assistant should also be expanded to
 2 include mental health staff. (See Vail Suppl. Decl. at ¶ 58; Martin Dep. at 181:8-12
 3 (recognizing the absence of mental health staff at RVR proceedings); id. at 241:8-24
 4 (noting that staff assistants lack “separation” from their superiors.)
 5         The Court should also order the Special Master tp investigate and make
 6 recommendations to the Court concerning Defendants’ practice of referring inmates to
 7 classification for SHU consideration and to the District Attorney for potential criminal
 8 charges, even when the hearing officer has determined that mental illness contributed to or
 9 caused the offending behavior. (See Vail Suppl. Decl. ¶ 62.)
10         The Special Master recommended in 2002 that Defendants develop a uniform
11 procedure and instrument to track the outcome of disciplinary cases involving MHSDS
12 inmates and mental health assessments. As Plaintiffs’ and Defendants’ experts observed,
13 Defendants have still failed to institute a tracking procedure. Similar to the requested
14 order for use of force, supra, the Court should authorize the Special Master, at his
15 discretion, to hire an expert on discipline of inmates with mental illness. This expert and
16 the Special Master should work with Defendants and Plaintiffs to develop a meaningful
17 tracking and quality assurance systems regarding consideration of mental illness in the
18 disciplinary process. (See Vail Suppl. Decl. at ¶ 59.)
19                4.     The Court Should Prohibit Defendants From Using the
                         Dangerous and Abusive “Management Status” Instead of Formal
20                       Disciplinary Procedures
21         During Plaintiffs’ inspections during termination discovery, Plaintiffs’ expert
22 observed Defendants’ widespread use of a disciplinary procedure called “Management
23 Status.” This appears to be “an informal disciplinary procedure where the inmate can be
24 summarily disciplined by being removed from his cell, stripped to his underwear and have
25 all his property removed from his possession.” (Vail Rpt. ¶ 96.) Plaintiffs’ expert opined
26 that “[s]uch a serious limitation on the conditions of confinement as management status
27 should be highly regulated and monitored,” and, if not rationally related to the behavior
28 being demonstrated by the inmate, the practice is “unnecessary, dehumanizing, degrading,
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 1 and likely to incite the inmate.” (Id. ¶ 97.) Similarly, Defendants’ expert opined that
 2 “[A]ny time you place somebody in a situation where you’ve got this deprivation of
 3 essential elements—you know, health, hygiene, clothing, whatever—that you’d better
 4 doggone sure have rationale that is documented and transparent.” (Martin Dep. at 119:16-
 5 20.)
 6         Yet, Management Status is imposed “outside the normal RVR process and without
 7 an obligation on the part of the staff to draw a clear nexus between the behavior of the
 8 inmate and the limitations on conditions of confinement.” (Vail Rpt. ¶ 100.) The Warden
 9 at Corcoran told Plaintiffs’ expert that Management Status requires only the approval of
10 the Captain, “after unit staff have placed the inmate in the holding cell, and can last up to
11 72 hours.” (Id. ¶ 98.) At LAC, the Local Operating Procedure permits the imposition of
12 Management Status with the approval of a unit sergeant. (Id. ¶ 100.) Plaintiffs’ expert
13 viewed a use of force video in which an inmate in a cage on Management Status at
14 Corcoran “was subjected to OC spray while in the holding cell as the officers held up their
15 shields and dispensed a large volume of pepper spray into the cage until the inmate
16 capitulated.” (Id. ¶ 96.) This ad hoc procedure developed by Defendants in lieu of
17 following their policies and procedures, and without any due process or accountability is
18 inexcusable, degrading, and must be ended immediately.
19 VII.    THE PROPOSED ORDERS SATISFY THE REQUIREMENTS OF THE
           PLRA
20
21         As extensively chronicled in the Background section of this brief, Defendants have
22 a long history of intransigence and failure with respect to correcting use of force and
23 disciplinary violations of the constitutional rights of Coleman class members. Despite this
24 Court’s and the Special Master’s efforts to induce Defendants to implement policies,
25 procedures, and practices that would end these abuses, Defendants continue to subject
26 Coleman class members to unreasonable and dehumanizing uses of force and punitive
27 measures. Additional and more targeted orders from this Court are necessary to protect the
28 class from Defendants’ abuse of force and inappropriate punishment because of, or without
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 1 due consideration of, their mental illness. The orders Plaintiffs propose in these areas are
 2 narrowly tailored to the constitutionally cognizable harms to class members recognized by
 3 the Special Master, Plaintiffs’ expert, and Defendants’ own expert. These orders extend no
 4 further than necessary to correct the continuing constitutional violations, and are the least
 5 intrusive means necessary at this phase in the remedial process to correct the violations.
 6 See 18 U.S.C. § 3626(a)(1).
 7                                        CONCLUSION
 8         Defendants’ use of force and disciplinary practices subject Coleman class members
 9 to grave physical and psychological harm on a routine basis. It is reprehensible that
10 Defendants continue to utilize such practices, almost two decades after this Court held that
11 they violate federal law. Allowing the abuse to continue is incompatible with the concept
12 of human dignity and has no place in civilized society. See Brown, 131 S. Ct. 1910, 1928
13 (2011).
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15 DATED: May 29, 2013                      Respectfully submitted,
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        NOTICE OF MOTION AND MOTION FOR ENFORCEMENT OF COURT ORDERS AND AFFIRMATIVE
                   RELIEF RELATED TO USE OF FORCE AND DISCIPLINARY MEASURES
